Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 1 of 79




             EXHIBIT 37
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 2 of 79




                  House of Commons
                  Business, Energy and Industrial
                  Strategy Committee

                  Liberty Steel and the
                  Future of the UK Steel
                  Industry
                  Fourth Report of Session 2021–22

                  Report, together with formal minutes relating
                  to the report

                  Ordered by the House of Commons
                  to be printed 2 November 2021




                                                                          HC 821
                                                     Published on 5 November 2021
                                              by authority of the House of Commons




                                                                       CRK-2/1690
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 3 of 79




Business, Energy and Industrial Strategy Committee
The Business, Energy and Industrial Strategy Committee is appointed by the
House of Commons to examine the expenditure, administration and policy of the
Department for Business, Energy and Industrial Strategy.


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Darren Jones MP (Labour, Bristol North West) (Chair)
Alan Brown MP (Scottish National Party, Kilmarnock and Loudoun)
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Committee staff

The current staff of the Committee are Dawn Amey (Committee Operations
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Rebecca Davies (Clerk), John Hitchcock (Committee Specialist), Catherine Kisanji
(Committee Specialist), Becky Mawhood (Senior Committee Specialist), Catherine
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                                                                                      CRK-2/1691
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 4 of 79

                                           Liberty Steel and the Future of the UK Steel Industry    1




Contents
Summary3

1   Introduction                                                                                   5
    Our inquiry                                                                                    6

2   Liberty Steel UK and GFG Alliance                                                              8
    Collapse of Greensill Capital                                                                  8
    Corporate Governance                                                                          10
    Audit12
    Government rejection of funding for Liberty Steel UK                                          16

3   Supply Chain Finance                                                                          19

4   Coronavirus Large Business Interruption Loans Scheme                                          25

5   Challenges and opportunities facing the UK steel industry                                     29
    Energy prices                                                                                 30
    Public procurement                                                                            36
    Trade42
    Decarbonisation46

6   The future of the UK steel industry                                                           55

Conclusions and recommendations                                                                   62

Annex A: Glossary                                                                                 68

Annex B: List of Liberty Steel UK sites                                                           71

Formal Minutes                                                                                    73

Witnesses74

Published written evidence                                                                        75

List of Reports from the Committee during the current Parliament                                  76




                                                                                                   CRK-2/1692
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 5 of 79

                                           Liberty Steel and the Future of the UK Steel Industry   3




Summary
Liberty Steel UK is one of six major steel companies in the UK and is controlled by GFG
Alliance. The company was previously funded using supply chain finance provided
by GFG Alliance through funds received from Greensill Capital. On 8 March 2021
Greensill Capital collapsed, removing GFG Alliance and Liberty Steel UK’s primary
source of funding, calling into question the financial viability of Liberty Steel UK and
putting thousands of jobs at risk.

Corporate governance and financial arrangements within GFG Alliance are controlled
by Sanjeev Gupta who makes strategic decisions through a central treasury and central
committee. This structure means that members of staff within his businesses are
prevented from performing their roles and duties adequately. A number of audit and
corporate governance red flags became clear during this inquiry. Witnesses agreed
that the audit of Liberty Steel UK businesses by audit firm King & King posed risks to
the businesses including a lack of capacity to complete audits effectively. The frequent
changing of accounting deadlines and the resignation of auditors also raised red flags.
Furthermore, witnesses disputed GFG Alliance’s assertion that its complex structure is
usual for a family-owned group of businesses.

In March 2021, the Business Secretary rejected GFG Alliance’s request for a £170 million
grant for Liberty Steel UK businesses due to opacity around corporate governance.
We commend the decision to reject this grant and urge the Government to consider
formalising a fit and proper person test for private company directors within any future
steel sector deal. Both Greensill Capital and GFG Alliance described a concentration
risk (a high percentage of lending to a single customer) in relation to their respective
companies which could have played a role in the collapse of Greensill Capital and the
subsequent financial difficulties within GFG Alliance and Liberty Steel UK. A number
of high-risk financial practices were used by GFG Alliance and Greensill Capital such as
future receivables, a form of financing where funds are extended based on an expectation
that a future invoice will be issued. The use of any high-risk financial practices is at odds
with the requirements of any future steel sector deal. While we are aware of Liberty
Steel UK’s recent refinancing efforts, we do not agree with Sanjeev Gupta’s decision to
set up another corporate entity in order to fund these companies.

On 3 April 2021, the Coronavirus Large Business Interruption Loans Scheme (CLBILS)
was launched. The scheme was administered through the British Business Bank and
gave large businesses access to finance such as loans. Greensill Capital loaned £350
million in Government-backed loans to Liberty Steel UK companies. GFG Alliance had
been treated as a single group, therefore, Greensill Capital’s lending was £300 million
above the lending limits applicable to it. An investigation by the British Business Bank
is currently underway into the misuse of these loans and the guarantees have been
suspended.

The leadership of Liberty Steel UK has highlighted the vulnerability of an industry
described as a national strategic asset and a foundation industry, due to its importance
to the manufacturing and construction sectors, among others, including defence. The




                                                                                                   CRK-2/1693
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 6 of 79

4       Liberty Steel and the Future of the UK Steel Industry




    second part of our report begins with the premise that the UK cannot afford to lose
    this vital industry and examines the current health of the sector together with the
    opportunities and challenges it faces.

    We found an industry still grappling with many of the same challenges it faced in the
    lead-up to the 2015–16 steel crisis and that the Government’s rhetoric on the strategic
    importance of steel has not been matched by sufficiently supportive policy. UK steel
    producers are still facing some of the highest energy prices in Europe and this disparity
    has been transformed into an immediate crisis due to the recent surge in gas prices. We
    recommend that the Government take action to reduce this disparity and emphasise
    that any short-term bailout must not be at the expense of sustainable, long-term
    reductions in costs for UK producers to enable them to compete on a level-playing field
    with producers on the continent.

    The Government is a major buyer of steel but we found that UK steel producers are still
    encountering barriers when attempting to supply into public projects. We recommend
    a range of measures are taken to drive up the public procurement of steel, including
    updates to the procurement policy note, a requirement for all Government projects to
    fully report on the value and origin of their steel requirements and setting minimum
    UK steel content targets for major public projects such as HS2.

    As a significant contributor of greenhouse gas emissions, decarbonising the steel
    industry will be an important part of meeting the Government’s target to bring all
    greenhouse gas emissions to net zero by 2050 and to cut emissions by 78% by 2035.
    However, while there exist a range of options for decarbonising the steel industry we
    found that the sector is holding off on investing in these technologies without certainty
    and direction from Government. We recommend that the Government step up its
    efforts to provide a supportive policy environment to enable the industry’s transition to
    a low carbon future.

    The UK steel industry cannot continue to lurch from crisis to crisis. Decarbonisation
    presents a unique opportunity to realign the sector and many of the industry’s wider
    challenges will need to be addressed to enable the transition to net zero. We see this as
    a pivotal opportunity to set the industry on the path to a viable and sustainable future
    and call on the Government to establish a Sector Deal which will address long-running
    challenges to the sector’s competitiveness as part of a cohesive plan for decarbonising
    the industry.




                                                                                            CRK-2/1694
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 7 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry         5




1 Introduction
1. Liberty Steel is the third largest steel producer in the UK, employing over 30,000 people
worldwide and 3,000 in the UK.1 On 8 March 2021, following months of speculation about
its financial viability, the supply chain finance firm Greensill Capital filed for insolvency.2
As the principal financial backer of GFG Alliance, the owner of Liberty Steel, this put
5,000 UK jobs in the steel industry and related industries at risk.3 As a consequence of this
collapse, the UK taxpayer was also reported to be exposed to more than £1 billion of debt
via three Government guarantees, including a state-backed COVID-19 lending scheme,
which enabled Greensill Capital to advance hundreds of millions of pounds to companies
linked to GFG Alliance.4

2. On 28 March 2021, the UK Government rejected a request from Sanjeev Gupta,
Executive Chairman of GFG Alliance, for £170 million in financial support for Liberty
Steel. Rt Hon Kwasi Kwarteng MP, the Secretary of State for Business, Energy and
Industrial Strategy, cited concerns over the corporate governance arrangements and
opaque accounting procedures at GFG Alliance as reasons for rejecting the loan.5 This
highlighted the potential risks posed to UK industry by high-risk financing methods.6

3. The vulnerability of Liberty Steel further exposed the fragility of an industry already
struggling with threats to its viability and facing long-term decline in the UK. The history
of the steel industry and the ongoing challenges it faces are well documented, including by
our predecessor Committee in its 2015 report The UK steel industry: Government response
to the crisis.7 At its peak in 1970, the UK produced 28.3 million tonnes of steel,8 four times
as much as it did in 2019 (prior to the COVID-19 pandemic).9 Today, the UK produces
less steel than at any time since the early 1930s,10 and is currently the twenty-third largest
producer of steel in the world.11 Commentators have suggested that the industry has yet to
fully recover from a period of crisis in 2015–16 in what was described as a “perfect storm
of falling prices and high costs.”12

4. The 2015–16 steel crisis began in July 2015 with the announcement by Tata Steel of
job cuts at its plants in South Yorkshire and the West Midlands, due in part to the pressure
of “cripplingly high electricity costs.”13 In September 2015, Sahaviriya Steel Industries
(SSI), the second biggest steel producer in the UK at the time, announced they would be


1    Liberty Steel Group, LIBERTY Steel United Kingdom
2    Reuters, Greensill Capital files for insolvency, administrators appointed, 8 March 2021
3    BBC, Fears for 5,000 UK steel jobs as lender collapses, 8 March 2021
4    Financial Times, UK taxpayer exposed to Gupta and Greensill via £1bn debt guarantees, 12 March 2021
5    Reuters, UK ministers reject Sanjeev Gupta’s bailout plea, 28 March 2021
6    Financial Times, Risk specialists draw lessons from Greensill saga, 15 April 2021
7    Business, Innovation and Skills Committee, The UK steel industry: Government response to the crisis, First Report
     of Session 2015–16, 21 December 2015, page 3
8    ONS, Updated: The British steel industry since the 1970s, Steel production in Great Britain, 1900 to 2015, 18
     January 2016
9    World Steel Association, Steel Statistical Yearbook 2020 concise version, 4 December 2020, page 1
10   In the late 1960s the UK was the fifth largest producer of steel in the world. By the 1980s the UK was around the
     tenth largest producer and by 2015 it was the eighteenth. See: House of Commons Library, UK Steel: Decades
     of decline, 18 December 2017ONS, Updated: The British steel industry since the 1970s, Steel production in Great
     Britain, 1900 to 2015, 18 January 2016
11   World Steel Association, World Crude Steel Production, 27 January 2020
12   Financial Times, UK steel hit by perfect storm of falling prices and high costs, 29 September 2015
13   BBC, Tata Steel announces 720 job cuts, 16 July 2015




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 8 of 79

6     Liberty Steel and the Future of the UK Steel Industry




mothballing their plant in Redcar on Teesside14 and the company went into liquidation
in October 2015.15 The same month, Caparo Industries16 went into administration17 and
Tata Steel announced it would be cutting its workforce at Scunthorpe, Clydebridge and
Dalzell.18 Following further announcements of job cuts and reports that the site at Port
Talbot was losing £1 million a day,19 Tata Steel ultimately sold its long products division
for a nominal £1 to Greybull Capital20 and its Speciality Steels business based in South
Yorkshire to Liberty House for £100 million.21

5. Recent developments at Liberty Steel have re-focused attention on the industry’s
long-term prospects in the UK. The sector faces an uncertain future and is grappling with
rising gas prices and questions about its financial sustainability. It must now also grapple
with the specific challenges it faces in order to meet the Government’s target to reach net
zero emissions by 205022 and a 78% reduction in emissions by 2035.23

Our inquiry
6. On 27 April 2021, we launched an inquiry into Liberty Steel and the future of the UK
steel industry. While the immediate ‘crisis’ prompted by the collapse of Greensill Capital
raised serious questions about the financing of the steel industry, it also exposed the
longer-term and strategic challenges faced by the sector in the UK and raised questions
about the Government’s approach to and support for the steel industry.

7. Our inquiry therefore focused on two key themes. First, on the specific and immediate
issues directly related to the collapse of Greensill Capital and the relationship between
Greensill Capital, GFG Alliance and Liberty Steel. We also considered the extent of
financial support offered by the UK Government to companies linked with GFG Alliance
as part of the Government’s Coronavirus Business Interruption Loan Scheme (CBILS)
and Coronavirus Large Business Interruption Loans Scheme (CLBILS).

8. The high-profile collapse of Greensill Capital and its implications have been the
subject of detailed analysis and scrutiny by several Select Committees.24 We explore
the financial details only in so far as they raise broader questions around financing and
support for the UK steel industry and securing its future prospects, which was the central
focus of this inquiry.


14   Financial Times, SSI mothballs Redcar steel plant with loss of 1,700 jobs, 28 September 2015
15   BBC, Redcar steelworks: Owners SSI go into liquidation, 2 October 2015
16   Much of which was later purchased by Liberty House. See: Liberty Steel Group, Sanjeev Gupta’s Liberty House
     secures another UK steel plant; protecting jobs and pensions, 3 July 2017
17   Financial Times, Caparo Industries becomes latest victim of steel crisis, 19 October 2015
18   BBC, Tata Steel ‘set to cut 1,200 jobs’, 16 October 2015
19   BBC, Tata Steel confirms 1,050 job cuts, 18 January 2016
20   Guardian, Tata Steel deal saves 4,400 jobs in UK, 11 April 2016
21   Financial Times, Tata sells speciality steel to Liberty House for £100m, 9 February 2017
22   Department for Business, Energy and Industrial Strategy, UK becomes first major economy to pass net zero
     emissions law, 27 June 2019
23   Department for Business, Energy and Industrial Strategy, UK enshrines new target in law to slash emissions by
     78% by 2035, 20 April 2021. The Government’s Industrial Decarbonisation Strategy, published on 17 March 2021,
     explicitly acknowledges the specific pressures faced by iron and steel in this regard due to its highly specialised
     processes. See: HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 141
24   See: Treasury Committee, Lessons from Greensill Capital, Sixth Report of Session 2021–22, 20 July 2021; Public
     Accounts Committee, Lessons from Greensill Capital; and Public Administration and Constitutional Affairs
     Committee, Propriety of governance in light of Greensill




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 9 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry         7




9. The second part of this inquiry takes a broader view of the steel industry in the
UK and the long-term and strategic challenges it faces. Drawing on our recent major
report on industrial policy25 we considered how Government should best support this
major foundational industry as it navigates a series of complex challenges, including the
significant changes required to meet the Government’s net zero ambitions.

10. Shortly after we announced our inquiry, on 4 May 2021, the Serious Fraud Office
(SFO) announced its investigation into suspected fraud, fraudulent trading and money
laundering in relation to the financing and conduct of GFG Alliance businesses, including
its financing arrangements with Greensill Capital. This investigation is ongoing.26 On the
same day, the Financial Conduct Authority (FCA) also confirmed that it was formally
investigating matters relating to Greensill Capital in the UK, stating that several allegations
had been made in the press regarding the circumstances of Greensill Capital’s failure,
some of which are potentially criminal in nature. This investigation remains ongoing.27

11. We invited both Lex Greensill, Founder and CEO of Greensill Capital, and Sanjeev
Gupta to give oral evidence to our inquiry. Mindful of the SFO and FCA investigations,
we sought to question Mr Greensill on some of the broader issues and their application to
the steel industry, including the use of publicly funded loans, audit, corporate governance
and supply chain finance.28 Mr Greensill declined our invitation on the basis that he
would not be able to comment directly on GFG Alliance or Liberty Steel, along with
concerns around prejudicing an ongoing SFO investigation into GFG Alliance.29 While
Mr Greensill gave evidence to the Treasury Select Committee in May earlier this year30 it
is unfortunate that Mr Greensill did not take the opportunity to address serious questions
around how the steel industry is financed or Greensill Capital’s role in events at Liberty
Steel. Although Mr Greensill responded to our request in writing, he did not otherwise
engage with our inquiry.

12. Despite previous commitments to attend, Mr Gupta also notified us that he would be
declining our invitation a few days before he was due to give evidence.31 We wrote to Mr
Gupta with a series of detailed questions around corporate governance, lending practices
and the use of taxpayer-backed funding within GFG Alliance,32 and received his response
in early August.33

13. In July we visited Tata Steel Port Talbot and Liberty Steel Newport to observe the
steelmaking process, meet with steelworkers and hold discussions on the current state of
the industry. We are grateful to both companies for facilitating these visits and all those
who provided oral and written evidence to our inquiry.



25   Business, Energy and Industrial Strategy Committee, Post-pandemic economic growth: Industrial policy in the
     UK, First Report of Session 2021–22, 28 June 2021; and Business, Energy and Industrial Strategy Committee, Post-
     pandemic economic growth: Industrial policy in the UK: Government Response to the Committee’s First Report
     of Session 2021–22, Sixth Special Report of Session 2021–22, 23 September 2021
26   Serious Fraud Office, SFO confirms investigation into Gupta Family Group Alliance, 14 May 2021
27   Treasury Committee, FCA Response regarding Greensill Capital, 4 May 2021
28   Correspondence from the Business, Energy and Industrial Strategy Committee, 16 June 2021
29   Correspondence to the Business, Energy and Industrial Strategy Committee, 30 June 2021
30   Treasury Committee, Oral evidence: Lessons from Greensill Capital, 11 May 2021
31   Correspondence to the Business, Energy and Industrial Strategy Committee, 1 July 2021
32   Correspondence from the Business, Energy and Industrial Strategy Committee, 13 July 2021
33   Correspondence to the Business, Energy and Industrial Strategy Committee, 3 August 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 10 of 79

8     Liberty Steel and the Future of the UK Steel Industry




2 Liberty Steel UK and GFG Alliance
14. Liberty Steel UK is one of six major steel companies in the UK, alongside British Steel,
Celsa, Forgemasters, Outokumpu, and Tata Steel.34 As at 2018, Liberty Steel UK had the
fifth largest output, producing 212,000 tonnes per year.35 In terms of employment, of the
33,40036 steel workers in the UK, 2,100 are employed by Liberty Steel UK.37 Liberty Steel
UK operates 11 sites across England, Scotland and Wales.38 These UK sites are collectively
known as the Liberty Steel UK business, a list of which is attached in Annex B.39 Liberty
Steel UK specialises in high-end alloys, stainless and carbon steels and its products are
primarily used in the aerospace, oil and gas, industrial engineering and automotive
industries.40 It also specialises in what it calls GREENSTEEL - low carbon steel produced
by recycling and upcycling scrap steel with locally sourced materials and resources using
electric arc furnaces powered by renewable energy.41

Gupta Family Group Alliance (GFG Alliance) is a group of global steel and mining
businesses which operates over 200 manufacturing locations in twelve countries. GFG
Alliance consists of many companies owned by the Gupta family, including entities
described as Liberty Steel Group and Liberty Steel UK. It was established in 1955 by
Parduman K Gupta, Sanjeev Gupta’s father, in Ludhiana, India. GFG Alliance holds
investments in financial services, property and other specialist businesses. GFG Alliance
states that it employs 35,000 people across 30 countries and has revenues of USD $20bn.42
Through a central treasury function, GFG Alliance provides necessary funding, cash flow
and investment for the continued operations of Liberty Steel UK.43

Collapse of Greensill Capital
15. Greensill Capital was the primary funder of Liberty Steel UK which is controlled by
a group of companies collectively known as GFG Alliance.44 On 8 March 2021, Greensill
Capital, a financial firm that specialised in providing supply chain finance to companies
globally, with a specific focus on SMEs, collapsed.45 In March 2021 Greensill Capital filed
for insolvency and went into administration.46 Lex Greensill explained that the failure

34   As of 2018, the largest steelworks in the UK in terms of output were British Steel and Tata Steel, both producing
     around three million tonnes per year. British Steel and Tata are followed by Celsa and Outokumpu, which
     produced 1.1 and 0.35 million tonnes per year (respectively).UK Steel, UK Steel Sites & Statistics, 2nd Edition,
     2018
35   UK Steel, UK Steel Sites & Statistics, 2nd Edition, 2018
36   House of Commons, UK Steel Industry: Statistics and policy, 18 June 2021, CBP 7317
37   Employment within the major six steel companies in the UK as of 2018 ranged from 8,500 employed by Tata
     Steel, 3990 employed by British Steel, 2,100 employed by Liberty Steel, 2,000 employed by Celsa, 640 employed
     by Forgemasters, and 570 employed by Outokumpu UK Steel, UK Steel Sites & Statistics, 2nd Edition, 2018
38   Liberty Steel Group, Our Locations
39   Liberty Steel Group, LIBERTY Steel UK
40   MakeUK, UK Steel Sites and Statistics 2nd Edition, May 2018, p 3
41   Liberty Steel Group, GREENSTEEL
42   GFG Alliance, About Us
43   Q171–172
44   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 14, para 56
45   Greensill Capital was founded in 2011 by Alexander “Lex” Greensill. Mr Greensill stated that since its inception it
     had funded over 8 million suppliers in 175 countries. Bank of England, Communications between David Cameron
     and senior Bank Officials about Greensill Capital and the Covid Corporate Financing Facility (CCFF), 22 April
     2021, p 12
46   Companies House, Statement of Administrator’s Proposal, 6 May 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 11 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry            9




of Greensill Capital was caused by the fact that Tokio Marine, the company’s principal
insurance provider, had not renewed Greensill Capital’s insurance and, therefore, Credit
Suisse would no longer fund Greensill Capital.47

16. As a supply chain finance company, Greensill Capital provided large amounts of
working capital to GFG Alliance. By the time of its collapse, Greensill Capital was GFG
Alliance’s “most significant financial backer”.48 Whilst not a company in its own right,
GFG Alliance, an informal alliance of many companies owned by the Gupta Family
Group, provided working capital to Liberty Steel UK using supply chain finance derived
funds received from Greensill Capital, through what was described as a ‘central treasury
function’ managed directly by Sanjeev Gupta. The financial viability of Liberty Steel UK
was therefore reliant on the financial viability of Greensill Capital. Greensill Capital’s
collapse therefore, “created a very significant challenge for the business [GFG Alliance] as
its main source of working capital finance was cut off.”49

Liberty Steel business model

17. Liberty Steel UK’s business model was premised on purchasing steel businesses that
were “in distressed, mothballed and loss-making states”.50 Liberty Steel undertook a series
of large acquisitions in quick succession, and at a time when the industry was dealing
with a “lack of long-term vision and strategy, capital, and investment in capacity and
capability”.51

18. Between 2015 and 2017 Liberty House Group, (now known as Liberty Steel Group),
made acquisitions and reopened a number of steel assets in the UK, including: the reopening
of the Newport Liberty Steel plant in October 2015 after Liberty House purchased the
site in July 2013;52 purchase of the Tredegar site in November 2016;53 purchase of the
Clydebridge and Dalzell steel plants in March 2016;54 and the 2017 acquisition of Tata
Steel’s Speciality Steels business in a £100 million deal, including an electric arc steelworks
and bar mill at Rotherham; a steel purifying facility in Stocksbridge; a mill in Brinsworth;
as well as service centres in Bolton and Wednesbury.55

Financial viability

19. The financial position of Liberty Steel UK businesses has varied since 2015. Sites
such as the Dalzell plate mill in Motherwell, acquired in 2016, showed consistent growth
from being a loss-making business to establishing a “key position” as a supplier to UK


47   Treasury Committee, Oral evidence: Lessons from Greensill Capital, 11 May 2021, HC (2021–22) 151, Q92 and
     Q275
48   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 14, para 56
49   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 14, para 58
50   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 4, para 5
51   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 4, para 5
52   BBC News, Liberty steelworks in Newport reopens after two years, 16 October 2015
53   WalesOnline, Steelworks which closed last year will re-open and create 70 new jobs, 10 November 2016
54   BBC News, Deal done to sell two Tata Steel mills in Scotland, 24 March 2016
55   WalesOnline, Liberty House acquires Tata Steel UK’s Speciality Steels business in a £100m deal, 9 February 2017




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 12 of 79

10    Liberty Steel and the Future of the UK Steel Industry




infrastructure, such as onshore windfarms.56 However, even before the collapse of
Greensill Capital and Liberty Steel UK’s subsequent loss of its main financial backing,
Liberty Steel UK faced a number of financial difficulties. GFG Alliance told us that the
significant reduction in the aerospace sector due to COVID-19 resulted in a decrease in
demand of up to 60% for some products, particularly for speciality steels at the Liberty
Steel Stocksbridge site and associated downstream units.

20. Some sites had a “pre-existing need for additional financial support”, which resulted
in “severe stress on what was already an ambitious plan to make these assets sustainable
and economically viable”.57 GFG Alliance asserted that this reduction in production
volume and sales caused a “negative impact on [the] growth trajectory and profitability
and the ability to invest in assets to expand capacity or capability” of Liberty Steel UK
sites.58

21. Anton Krull, Chief Financial Officer at Liberty Steel UK, highlighted the impact of
the COVID-19 pandemic on some of the Liberty Steel UK sites and noted that the “rising
steel price” had “put pressure on working capital”, making things “somewhat difficult for
those businesses”.59 Mr Krull summarised the position in that “the larger businesses are
challenged [… but] some of the smaller businesses are operating reasonably profitably”.60

Corporate Governance

GFG Alliance

22. GFG Alliance, and its subsidiary companies, are a collection of businesses and
investments that do not operate as a consolidated group but as an alliance of businesses.61
GFG Alliance told us that “GFG’s structure and organisation is not unusual for family-
owned groups, particularly those that are fast growing and have a variety of assets […]”.62
Professor Siddiqui, Professor of Accounting at the University of Manchester, disagreed
and described it as “highly unusual”.63 He told us that “this entity is massive now, so I
would not say this is quite normal if you consider the scale”.64

GFG Advisory Board

23. Witnesses to our inquiry identified questionable corporate governance arrangements
within GFG Alliance and Liberty Steel UK, due to decision-making structures being
centralised around Sanjeev Gupta, with only very minimal input or knowledge of decision
making from other executives.

56   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 4, para 5
57   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 5, para 14–16
58   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 5, para 14–16
59   Q116
60   Q117
61   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 12, para 45
62   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 12, para 47
63   Q509
64   Q509




                                                                                                                CRK-2/1700
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 13 of 79

                                                     Liberty Steel and the Future of the UK Steel Industry      11




24. GFG Alliance told us that it had taken measures to improve corporate governance
structures within the group, specifically by creating the GFG Advisory Board (GAB)
in October 2020. The Board includes “senior, independent experts from industry,
politics, economics and law, who could provide advice and guidance to support the
GFG’s environmental, social and governance commitments […]”.65 Jon Bolton, former
Chief Executive Officer at Liberty Steel Group UK stated that as GFG Alliance grew as a
business, “the big strategic decisions”, were made by “the central group”, which included
executives within Liberty Steel.66 However, he explained that this central group consisted
of “predominantly, Sanjeev Gupta. He was the prime mover for the strategy of the
group. A group of us would advise that but, essentially, decisions were made centrally by
Sanjeev”.67 He described group meetings as being “short […] half-hour meetings just to
hear a statement from Sanjeev to update the advisory board on what is happening in the
company”.68

25. Professor Siddiqui explained that the Advisory Board was not “a formal committee
at all. I do not think it has any formal remit in terms of that. It may just be an informal
committee of friends”.69 He questioned the legitimacy and advisory role of the GAB and
described it as a “ritualistic approach” to corporate governance.70 The GAB was suspended
on 7 April 2021 following the Greensill Capital collapse “to allow the GFG management
team [to] focus on immediate business priorities related to refinancing and restructuring”.71

GFG Alliance financial arrangements

26. As well as over-centralised decision making, with the lack of adequate accountability
structures, witnesses to our inquiry also identified that GFG Alliance has unusually
centralised financial arrangements. These aspects of centralised decision authority
and financial control are in contrast to what has historically been a loose collection of
business entities in a “family office” style organisation, inevitably raising questions of
transparency, independence and reliability of any one corporate entity. Anton Krull, Chief
Financial Officer at Liberty Steel UK, explained that financial decisions for Liberty Steel
UK were made centrally by GFG Alliance, with Mr Krull having little involvement in
financial activities within the businesses such as funding procedures. Mr Krull explained
that his remit was “really around the businesses and the operations, and their future in
that respect,”72 and “in terms of the capital structure [of Liberty Steel] and the funding,
that has always been dealt with centrally through a [GFG] treasury function. Mr Krull
acknowledged that he wasn’t aware of the bigger financial picture within Liberty Steel UK,
but added that he did not believe this centralised treasury structure to be unusual.73

27. Professor Siddiqui noted that such a centralised structure was indeed unusual, and
that normally, you would expect the CFO to be an important part of the management,

65   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 13, para 53
66   Q99
67   Q100
68   Q139
69   Q507
70   Q507
71   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
     Published 6 July 2021, p 13, para 53
72   Q171
73   Q145 and Q172




                                                                                                                CRK-2/1701
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 14 of 79

12    Liberty Steel and the Future of the UK Steel Industry




“but here we are failing to see the management”. He added that it appeared to be “down
to one person here to make all the decisions” and described the CFO as more akin to
the “role of an operating officer” rather than the typical role of a CFO.74 Professor Yang,
Associate Professor of Management Science and Operations at the London Business
School, agreed and stated that he did not know of any companies where a “supply chain
finance programme goes through without the CFO”.75

28. The corporate structure and governance of GFG Alliance companies resulted in no
formal oversight or accountability of the decisions taken by Sanjeev Gupta. Mr Gupta
put members of his staff in an unacceptable position by employing them with job
titles associated with traditional executive functions in well run companies, without
giving them the required access to information or decision-making powers necessary
for them to perform their duties. It is unclear why Mr Gupta opted to structure his
companies in this unusual and, given the scale of his operations, unacceptable way.

29. We recommend that Ministers reflect on the systemic risks to UK industry posed by
such unusual corporate structures and, if deemed necessary, bring forward amendments
to the Companies Act.

Audit

GFG Alliance and Liberty Steel UK audit

30. Several GFG Alliance and Liberty Steel UK companies were audited by King & King,
a chartered accountants, registered auditors and chartered tax advisors.76 Milan Patel,
Partner at King & King, confirmed to us that the firm began auditing companies in which
Sanjeev Gupta was the beneficial owner, or director of, in 2015,77 and was appointed to
Liberty Steel companies towards the end of 2018.78

Liberty Steel UK audit: revenue and capacity

31. Reporting surrounding the audit of GFG Alliance and Liberty Steel UK companies
has largely focused on the revenue and capacity of King & King,79 a relatively small audit
firm, given the number, size and complexity of the accounts it audited.80 King & King
is an audit firm with six partners, two chartered accountants, four chartered certified
accountants, and a total of 40 staff.81 Several witnesses to our inquiry identified a number
of risks posed by a relatively small audit firm auditing large companies, including a
potential lack of capacity to complete audits effectively and efficiently, and information
asymmetry which could compromise the independence of the auditors.



74   Q507
75   Q508
76   King & King, Home
77   Q332
78   Q331
79   Financial Times, The tiny audit firm that signs off Sanjeev Gupta’s empire, 28 April 2021; The Telegraph,
     Spotlight falls on two-partner firm that audited Gupta’s empire, 18 April 2021; The Sunday Times, Sanjeev
     Gupta: Anatomy of a scandal, 20 March 2021
80   Financial Times, The tiny audit firm that signs off Sanjeev Gupta’s empire, 28 April 2021
81   Q306




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 15 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry        13




King & King

32. Professor Siddiqui disputed the likeliness of King & King’s ability to audit a large
amount of GFG Alliance companies with large turnovers. Professor Siddiqui gave context
about the size of the firm stating that “the big four would have an average partner size of
750 and employee size of nearly 275,000 in the UK”, compared to the 40 staff employed
by King & King.82 Professor Siddiqui confirmed that King & King “is a very small firm,
but the revenue of GFG Alliance that they have audited in total is more than £2.5 billion,
which then puts it into the category of a top-50 FTSE company in terms of revenues”.83

33. Mr Patel said that his organisation was capable of auditing an organisation with £2.5
billion of revenue and added that King & King has “many clients who have hundreds of
millions of pounds of turnover. It is not unusual for a firm of our size to have clients that
have hundreds of millions in turnover.”84

34. Professor Siddiqui also told us that King & King raised “red flags” in relation to its
expertise and capacity. He suggested that if King & King were industry specialists and had
experience of auditing steel industry businesses, they may be able to audit GFG Alliance
and Liberty Steel companies with the staff capacity and resources currently available.
However, King & King only became auditors to Liberty Steel companies in 2018, and was
therefore still relatively new to the audit of these companies. Professor Siddiqui added
that GFG Alliance and Liberty Steel have “a very complicated governance structure. You
have, as I said, a number of companies. Taken together, they do not produce consolidated
financial statements”, which would also make King & King’s audit of GFG Alliance and
Liberty Steel companies very difficult.85 Professor Siddiqui therefore made the assessment
that King & King “would be severely stretched”.86

35. When asked whether King & King may not have the capacity to audit GFG Alliance
and Liberty Steel UK companies, Anton Krull, Chief Financial Officer at Liberty Steel UK,
stated that “it did occur to me. It is certainly one of the areas going forward in terms of
both the consolidation of the Liberty Steel UK group and having a clear understanding of
the auditors, the transparency and all that goes around that”.87

36. The Financial Reporting Council’s (FRC) 2019 Ethical Standards states that auditors
must not receive over 15% of its annual fee income from a single client.88 The Times
reported that King & King received £1.1 million for auditing up to £2.5 billion of revenue
generated by GFG Alliance companies.89 Milan Patel, Partner at King & King, told us that
“we have been through our standards and ethical standards, and we believe that we do not
exceed the thresholds”.90 The percentage of revenue that King & King received from the
audit of GFG Alliance companies has not been disclosed.



82   Q470
83   Q470
84   Q294
85   Q470
86   Q470
87   Q203
88   Financial Reporting Council, Revised Ethical Standard 2019, December 2019
89   The Telegraph, Spotlight falls on two-partner firm that audited Gupta’s empire, 18 April 2021; Financial Times,
     The tiny audit firm that signs off Sanjeev Gupta’s empire, 28 April 2021
90   Q321




                                                                                                                       CRK-2/1703
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 16 of 79

14     Liberty Steel and the Future of the UK Steel Industry




37. Adam Leaver, Professor in Accounting and Society at Sheffield University, identified
the risk of an “information asymmetry” between the company and its auditor when using
a small audit firm being paid large amounts of money to audit companies with large
revenues. He argued that this risked a loss of independence of the auditor.91

38. Professor Siddiqui acknowledged that it was “possible” that King & King were selected
by Sanjeev Gupta as auditors of GFG Alliance companies as they were willing to do what
Mr Gupta wanted them to do.92 He added that “is a commonly exercised thing in many
private companies that you pick auditors that you could possibly dominate, but we do not
have any evidence of that at the moment.”93

Auditor resignations and consolidated accounts

39. In May 2019, MHA McIntyre Hudson, the auditors prior to King & King, resigned
as auditors of Liberty Precision Tubes Ltd due to discrepancies between it and GFG
Alliance’s valuations of GFG Alliance assets for the year ending March 2018.94 Professor
Siddiqui noted that auditor resignations should raise a red flag for the next auditor, as
this was not “usual practice”.95 As such, the new auditor would need to explore why the
previous auditor resigned.96 Professor Siddiqui concluded that auditor resignation reflects
“on GFG’s poor corporate governance mechanisms”, as GFG Alliance’s structure is “very
complex”.97

40. In 2019, in a bid to “silence criticism of his bookkeeping” Sanjeev Gupta announced
that Liberty Steel Group companies would publish a set of consolidated accounts.98 A
spokesperson for GFG said:

            We are working towards further enhanced transparency and governance,
            and intend to publish consolidated accounts for Liberty Steel Group in
            2020 … However, as a private, family-owned company, we do not intend to
            provide granular details of our finances in response to every rumour, half-
            truth or piece of speculation.”99

41. In written evidence, GFG Alliance stated that there were difficulties with producing
consolidated accounts due to the COVID-19 pandemic, however, accounts for Liberty
Steel would still be published for the year ending March 2021.100 To date, accounts for
some Liberty Steel UK companies are listed as overdue on Companies House and no
consolidated accounts have been published.101


91    Financial Times, The tiny audit firm that signs off Sanjeev Gupta’s empire, 28 April 2021
92    Q475
93    Q475
94    Reuters, Auditor to company owned by metals tycoon Gupta quit over asset value, 9 July 2019; Companies
      House, Auditor’s resignation, dated 30 May 2019
95    Q476
96    Q476
97    Q476
98    The Telegraph, Steel billionaire Sanjeev Gupta hits back at ‘ridiculous’ critics as he unveils radical shake-up, 29
      October, 2019
99    Financial Times, The workings of Sanjeev Gupta’s empire, 26 February 2020
100   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 13, para 51
101   Some Liberty Steel UK companies are listed as having overdue accounts on Companies House. For example:
      LIBERTY STEEL TREDEGAR LTD, LIBERTY STEEL NEWPORT LIMITED, and LIBERTY STEEL DALZELL LTD




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 17 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry        15




42. Jon Bolton, former Chief Executive Officer at Liberty Steel Group UK, told us in
evidence that the publishing of consolidated accounts had been discussed by the GFG
Advisory Board. Mr Bolton told us that “[…] those consolidated accounts, clearly, for the
various market circumstances and suchlike have not yet been published. It was something
that the advisory board was keen to see and, clearly, Liberty and GFG were keen to
produce”.102

43. Professor Siddiqui outlined the difficulty for auditors and transparency when a
group of companies are not a consolidated entity. He told us that if King & King audits
60 companies and other auditors are involved with the audit of other GFG Alliance and
Liberty Steel companies then “as an auditor, you are never going to get a complete picture
of how this group is performing or how this alliance is performing”.103

44. We were not reassured by the evidence presented by King & King and note the
legal restrictions placed upon Mr Patel, and other auditors who had previously audited
GFG Alliance companies, by Sanjeev Gupta.104

45. Despite public statements over a number of years to the contrary, we see, as yet,
no tangible evidence that Sanjeev Gupta and GFG Alliance companies are making
improvements to corporate governance or improving transparency through the
publication of consolidated accounts.

Accounting Deadlines

46. Witnesses also expressed concern at the frequent changing of accounting deadlines
for companies, within GFG Alliance, including some Liberty Steel UK businesses, which
are audited by King & King. Since 2019, 24 GFG Alliance companies have changed their
accounting period on at least two occasions. While legal, this is an “unusual” accounting
practice, and is one of the “risky” financial practices used by GFG Alliance. When
questioned as to why this occurred, Mr Patel, the auditor, told us he had “no knowledge of
that” and that the reason was for “Liberty to know”.105

47. When asked about his experience of the process of companies changing their
accounting deadlines Mr Patel described that “you would have the conversation with the
auditors, but they do not have to give you a reason why they are changing it. It is just to
inform the auditors so that the timing of the audit process would change”.106 Mr Patel
denied that changing accounting periods twice since 2019 was unusually frequent. He
explained “they were trying to look at a new date to bring all the group companies within
a particular date. That was all there was to that”.107 Cynthia O’ Murchu, Investigative
Reporter at the Financial Times, disagreed with Milan Patel. She described this “clear
pattern of companies changing their accounting dates multiple times” as a “huge red
flag”.108

102   Q209
103   Q470
104   Q 279, Q 301–302, Q 327–328, Q 382–383; Milan Patel told the Committee that he had been instructed by GFG
      Alliance lawyers not to discuss information relating to Liberty Steel Group during the evidence session which he
      attended.
105   Q347
106   Q348
107   Q349
108   Q480




                                                                                                                    CRK-2/1705
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 18 of 79

16    Liberty Steel and the Future of the UK Steel Industry




48. Professor Siddiqui explained that companies delaying their accounting periods is
“unusual but it is allowed”.109 UK companies are able to extend their accounting period
to 18 months once in every five years unless otherwise stated by Companies House.
Professor Siddiqui asserted that the delay of accounting of 17 of the 24 companies within
the alliance that had changed their accounting deadlines twice or more since 2019 “should
be investigated”.110 Cynthia O’Murchu described it as an “[…] an obfuscation”. She said
that ultimately, it will be down, to the investigatory bodies “to really dig into this and hear
all the evidence as to why this was done and whether there are legitimate reasons to do
so”.111

49. We found it utterly unconvincing, and do not believe that King & King had the
capacity, expertise, or resources to audit the accounts of multiple large GFG Alliance
and Liberty Steel UK companies representing over £2.5 billion of revenue.

50. The reputation of Liberty Steel UK has been threatened by the poor audit and
accounting practices of GFG Alliance, including the changing of accounting deadlines
and its inability to produce consolidated accounts. As these accounts are yet to be
published it is difficult to see the true financial picture of Liberty Steel UK. Unless
remedied, these deficiencies severely limit the potential of that firm to be viewed as a
reliable partner in any long-term strategy for the UK steel industry.

51. We recommend that the Financial Reporting Council, as the competent authority
for audit in the UK, refer this case to the relevant Recognised Supervisory Body, the
Institute of Chartered Accountants for England and Wales, to investigate King & King
under the Audit Enforcement Procedure as a matter of urgent public interest.

Government rejection of funding for Liberty Steel UK
52. In a letter to the BEIS Department following the collapse of Greensill Capital in March
2021, GFG Alliance requested £170 million in financial support from the Government.112
The Secretary of State, Rt Hon Kwasi Kwarteng MP, ultimately rejected the £170 million
grant request on the basis that, “we cannot simply give taxpayers’ money to companies
that are very opaque, with assets all over the world and liabilities that nobody seems to
have got to the bottom of. That would be very irresponsible”.113

53. The Secretary of State later explained in more detail his decision not to extend £170
million to Sanjeev Gupta noting that it was the “opacity about their corporate governance
and this difficulty to understand the full nature of their businesses that prevented me and
my officials from giving them taxpayers’ money. We were, dare I say it, vindicated in our
approach”.114 He added that this rejection of funding was not because of Liberty Steel
UK’s assets or operations, stating that “[…] the assets are fundamentally good ones”,115
however, the issues with Liberty Steel UK financial viability were created by “financial
engineering”.116

109   Q479
110   Q479
111   Q481
112   Q517
113   Q134
114   Q2
115   Q515
116   Q515




                                                                                             CRK-2/1706
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 19 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry   17




54. We raised a number of questions about corporate governance structures and audit
with the Secretary of State. This included questions about the need for a formalised fit
and proper person test for directors of private companies in order for companies to
receive Government subsidies in relation to the £170 million grant requested by GFG
Alliance, particularly for sectors such as the steel industry that are considered strategic.
The Secretary of State described that “the approach we take always looks at a whole range
of issues”, when making decisions on providing financial support to companies.117 He
added that “as long as Government have provided limited support in special instances
to businesses, it is always the case that there is a process. It has never been the case that
people would simply get the money by asking for it”.118

55. When questioned further about the need for formalised tests within other industries
as is the approach in healthcare and the charity sector, as opposed to considering financial
support on a case-by-case basis, the Secretary of State responded stating that “we do not
want to put the walls so high on investors that we deter them, but we do have informal
tests. That is one of the reasons why I rejected the £170 million”.119

56. We commend the Government’s decision to reject GFG Alliance’s request for £170
million of financial support in March 2021. The Secretary of State was correct to be
cautious about providing a large grant to a group of companies with a centralised,
complex and opaque governance structure.

57. In light of the Greensill Capital collapse and subsequent financial hardship of
GFG Alliance and Liberty Steel UK, we urge the Government to give consideration to
formalising a fit and proper person test for private company directors within any future
steel sector deal.

Liberty Steel UK refinancing

58. On 10 October 2021, GFG Alliance announced that it would inject £50 million of new
funding into Liberty Steek UK through a new separate corporate entity Liberty Capital.120
This funding is expected to allow the restart of production at the Rotherham site which
contains Liberty Steel UK’s electric arc furnace that produces GREENSTEEL. GFG
announced that it will also enable Liberty Steel UK’s speciality steel division; Stocksbridge,
Narrow Strip, and Performance Steel, to run focussed production campaigns.121

59. Liberty Steel UK is expected to run as normal with funding for growth in working
capital now being approved through Liberty Capital. GFG announced that this funding
will allow sites to prove that operations can run efficiently which will enable the group to
finalise longer term debt restructuring and refinance Liberty Steel UK operations in full.122

60. We note the recent developments within GFG Alliance and Liberty Steel UK and
welcome the injection of capital at Liberty Steel’s Rotherham plant. However, we note



117   Q544
118   Q530
119   Q544–454
120   GFG Alliance, GFG Alliance issues update on restructuring and refinancing progress, 10 October 2021
121   GFG Alliance, GFG Alliance issues update on restructuring and refinancing progress, 10 October 2021
122   GFG Alliance, GFG Alliance issues update on restructuring and refinancing progress, 10 October 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 20 of 79

18   Liberty Steel and the Future of the UK Steel Industry




that once again Sanjeev Gupta has decided to set up an additional corporate entity to
provide financial support to Liberty Steel UK companies without clear reporting and
decision making on the source and terms of use of that funding.

61. We would welcome the Insolvency Service considering whether, on the basis of
the evidence we have received, Sanjeev Gupta may have acted in breach of his fiduciary
duties as a company director in the United Kingdom.

62. More broadly, we believe that until Mr Gupta restructures his GFG Alliance
companies into a more acceptable corporate structure and publishes consolidated
accounts that are adequately audited, that he fails to fulfil the criteria that we believe
should be applied to define a fit and proper person for the purposes of receiving any
form of Government support.




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 21 of 79

                                                    Liberty Steel and the Future of the UK Steel Industry       19




3 Supply Chain Finance
Supply chain finance

63. Greensill Capital provided funding to customers such as GFG Alliance through
supply chain finance (SCF). This SCF funding from Greensill Capital was used by GFG
Alliance to fund Liberty Steel UK entities. Lex Greensill described supply chain finance as
“Greensill’s flagship product” and claimed to be the market-leading provider of working
capital finance for companies globally, with a specific focus on SMEs.”123

64. SCF has been described by Andrew Bailey, Governor of the Bank of England as:

            […] a form of short-term business finance where the future payment
            obligations of a buyer (typically a large corporate) are transferred to a
            finance provider in return for that finance provider paying the supplier up
            front (typically less a haircut). The finance provider receives the payment
            from the buyer at a future date. The finance provider is therefore taking a
            primary credit exposure to the buyer, which frequently is investment grade.
            SCF is one of a range of financing options that SMEs can use to meet their
            short-term liquidity needs, with the majority of the funding coming from
            banks.124

65. SCF is used most frequently by large companies such as Vodafone and Tesco, with
data suggesting that around 7% of businesses use supply chain finance programmes.125
Supply chain finance is not frequently used by private companies such as Greensill
Capital. Sir Jon Cunliffe, Deputy Governor for Financial Stability at the Bank of England,
explained that “[…] the majority of this sort of finance is still done by banks, not players
that securitise the assets in the market.”126

Accounting procedures

66. The way in which Greensill Capital used supply chain finance has been viewed as
controversial due to its accounting treatment which can allow customers of supply chain
finance, such as GFG Alliance, to hide the true extent of their debt.127

67. Professor Siddiqui described how funds from supply chain finance do not need to
be classified as debt on a company’s balance sheet. A company can classify funds from
supply chain finance as a trade payable or as a loan. If a company classifies these funds as
a trade payable, these funds would sit within the working capital of a company and not
as debt, however, if these funds are shown as a loan, they would be a liability.128 Cynthia
O’Murchu explained that this could present a stronger financial position than may be
the case in reality, for example, as had been the case with NMC Health which went into
administration in April 2020 with large amounts of debt that was not declared.129
123   Bank of England, Communications between David Cameron and senior Bank Officials about Greensill Capital
      and the Covid Corporate Financing Facility (CCFF), 22 April 2021, p 12
124   Bank of England, Bank of England Response regarding Greensill Capital, Dated 6 May 2021
125   Q440
126   Treasury Committee, Oral evidence: Bank of England Monetary Policy Reports, HC 142, 24 May 2021, Q131
127   Financial Times, Greensill case shows risks of supply chain finance, 4 March 2021
128   Q483
129   Q482




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 22 of 79

20     Liberty Steel and the Future of the UK Steel Industry




68. The Financial Times reported in March 2021 that by the time of its collapse, Greensill
Capital was exposed to around $5 billion of GFG Alliance debt.130 This news report stated
that according to Greensill Capital lawyers, GFG Alliance companies were “experiencing
financial difficulties” and had “started to default” on its financial obligations to Greensill
Capital.131 The subsequent collapse of Greensill Capital and large amounts of debt
significantly impacted Liberty Steel UK, as Greensill Capital could no longer provide the
supply chain finance funds to GFG Alliance which would then be used to finance Liberty
Steel UK sites.

69. It is unclear how much debt GFG Alliance holds and whether GFG Alliance classified
its supply chain finance cashflow as trade payable, however, the large amount of debt and
the symbiotic relationship between GFG Alliance and Greensill Capital have both played
a significant role in the financial difficulties of Liberty Steel UK. Sanjeev Gupta told the
BBC Radio 4 Today programme that “given the legal disputes we have with them [Greensill
Capital] I can’t talk specifics”, but added the amount owed by GFG Alliance to Greensill
Capital “is in many billions”.132

Concentration risk to GFG Alliance

70. Both Lex Greensill and GFG Alliance have described a concentration risk - a high
percentage of lending to one customer - in relation to their respective companies which
could have played a role in the collapse of Greensill Capital and the subsequent financial
difficulties within GFG Alliance and Liberty Steel UK. Lex Greensill told the Treasury
Committee that a concentration risk became apparent to Greensill Capital’s German
regulator BaFin (Greensill Capital also operated in Germany) in mid-2020 as a reduction
plan - a plan to reduce concentration risk for companies - was proposed to Greensill
Capital “with respect to the amount of exposure that we held for one of our customers”.133
However, Mr Greensill told the Treasury Committee that the initial reduction plan “was
going to be impossible for us to comply with”, so in January 2021 “BaFin agreed to a plan
that we [Greensill Capital] proposed, which dealt with that immediate issue. The next
event was the failure of our insurer to renew, which was in March”.134

71. Although Lex Greensill described a concentration risk to large customers, he denied
that Greensill Capital’s largest customer was GFG Alliance, stating that “I am not allowed
to say, but the British company that you keep talking about was not our largest customer in
terms of the assets that we funded”.135 However, GFG Alliance outlined to us the group’s
high level of dependence on working capital from Greensill Capital, stating that “by 2020
GFG had recognised the need to further diversify its lender base to reduce its reliance
on Greensill Capital”.136 GFG Alliance described that the process of diversification was
underway but became difficult as a result of the COVID-19 pandemic and ultimately,
“no material refinancing of GFG’s debt to Greensill took place before Greensill Capital


130   The Telegraph, Thousands of steel jobs in jeopardy as Greensill Capital collapses, 8 March 2021
131   The Telegraph, Thousands of steel jobs in jeopardy as Greensill Capital collapses, 8 March 2021
132   The National, Liberty Steel owes ‘many billions’ to failed finance firm Greensill Capital, 2 April 2021
133   Treasury Committee, Oral evidence: Lessons from Greensill Capital, HC 151, 11 May 2021, Q97
134   Treasury Committee, Oral evidence: Lessons from Greensill Capital, HC 151, 11 May 2021, Q97; More information
      can be found in the Treasury Committee Report: Lessons from Greensill Capital
135   Treasury Committee, Oral evidence: Lessons from Greensill Capital, HC 151, 11 May 2021, Q172
136   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 14, para 58




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 23 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry       21




collapsed in early March 2021”.137 GFG Alliance also stated that it had an “over reliance
on Greensill as GFG’s core financier” which created “a very significant challenge for
the business as its main source of working capital finance was cut off”.138 As a result of
this over reliance, GFG Alliance had to make “difficult decisions to divest or otherwise
liquidate assets”.139

72. The consequences of the high concentration risk between GFG Alliance and Greensill
Capital had a significant effect on Liberty Steel UK, whose operations in the UK were
more severely impacted by Greensill Capital’s collapse than its operations in some other
countries.140

Future receivables or “prospective receivables”

73. Another facility reportedly offered by Greensill Capital was future receivables,
also sometimes referred to as “prospective receivables”. Future receivables are a form of
financing where funds are extended, but instead of being based on an invoice for a specific
purchase, they are based on an expectation that some future invoice could potentially be
issued.141 Prospective receivables are deemed to be a high-risk facility due to the fact that
this facility could allow customers to raise large amounts of capital from unverified or
ultimately fictional transactions.

74. GFG Alliance used Greensill Capital’s prospective receivables programme. However,
GFG Alliance and Greensill Capital have disputed how this arrangement worked. In
written evidence to us, GFG Alliance said that:

            As part of Prospective Receivables programmes, Greensill employees
            identified companies with whom its counterparties could potentially do
            business in the future. Greensill then determined, at its discretion and based
            on insurance capacity it had, the amount of each Prospective Receivables
            purchase and its maturity.142

75. Lex Greensill disputed this and denied that Greensill Capital operated a “prospective
receivable” product for any client in the manner described by GFG in their evidence.143
Mr Greensill further stated that “the term “prospective receivable” was never used by
Greensill Capital to describe any of its products”, and that “It is entirely incorrect that
“Greensill Capital employees identified companies with whom our clients could potentially
do business in the future”, as was stated by GFG Alliance.144

76. Mr Greensill also stated that all future receivables were “based on details of existing
trading partners provided to Greensill by our clients”, and “entered into on the expectation
137   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 14, para 58
138   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 14, para 58
139   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 14, para 58
140   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 5, para 17
141   Treasury Committee, Lessons from Greensill Capital Report, Published 20 July 2021, p 16
142   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 14, para 57
143   Business, Energy and Industrial Strategy Committee, Correspondence from Lex Greensill, Dated 21 July 2021
144   Business, Energy and Industrial Strategy Committee, Correspondence from Lex Greensill, Dated 21 July 2021




                                                                                                                  CRK-2/1711
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 24 of 79

22     Liberty Steel and the Future of the UK Steel Industry




that the future receivables would convert into account receivables within a specified
period.145 This was reinforced by a warranty from the client that the receivables will arise
pursuant to sales contracts with the relevant trading partners”.146

77. Professor Siddiqui described the risks of future receivables as “very high”. Cynthia
O’Murchu agreed they are “extremely risky”.147 She explained that the Financial Times
had investigated invoices raised by GFG Alliance using the future receivables facility that
could not be verified by the Greensill Capital administrators Grant Thornton after Greensill
Capital went into administration.148 Although GFG Alliance had stated to the Financial
Times that these invoices were part of the future, or prospective, receivables programme,
a number of companies “emphatically” denied doing business with GFG Alliance.149 This
use of “suspect invoices” added an additional level of risk to GFG Alliance’s use of future
receivables.

78. The way in which future, or prospective, receivables operated between GFG
Alliance and Greensill Capital is disputed by both parties. We note that several claims
have been made about the use of future receivables and their relation to “suspect
invoices” and welcome the Serious Fraud Office’s investigation into this matter.

79. Steel is a foundational industry in the UK and in need of significant structural
reform. The use of high-risk financial funding practices, such as future receivables
lending, that Greensill Capital and GFG Alliance engaged in are barriers to such
reforms. By his use of such practices Mr Gupta, the so-called “saviour of steel” is
creating uncertainties that further undermine the long term viability of the steel
industry in the UK.

80. We recommend that the Financial Conduct Authority and HM Treasury investigate
the use of, and accounting rules for, future or prospective receivables.

Circular trading

81. The term circular financing, or circular trading as it is sometimes referred to, has
been used in relation to Liberty Steel UK. It has been used to describe the process in
which a company sells a product to a related company. The product may then be sold
multiple times to different related companies. The product is then sold back to the original
company and is finally sold to an unrelated party. The company that originally sold the
product is able to raise multiple invoices to its supply chain finance lender for the same
product and is therefore able to gain access to more working capital to be paid back at a
later date.150

82. The Sunday Times reported that a number of GFG Alliance and Sanjeev Gupta-linked
companies have been linked to circular financing. This includes the circular financing
of steel through the Liberty Steel Newport site.151 On 17 April 2021 The Sunday Times
reported that Liberty Steel Newport was used in a circular trading scheme. It was reported

145   Business, Energy and Industrial Strategy Committee, Correspondence from Lex Greensill, Dated 21 July 2021
146   Business, Energy and Industrial Strategy Committee, Correspondence from Lex Greensill, Dated 21 July 2021
147   Q443
148   Q443
149   Q461
150   The Sunday Times, Revealed: Sanjeev Gupta’s circular money trail, 17 April 2021
151   The Sunday Times, Revealed: Sanjeev Gupta’s circular money trail, 17 April 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 25 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry       23




that Liberty Steel Newport sold £2.5 million of coils and tubes to VS International (VSI).152
Liberty Steel Newport was then able to raise funds from Greensill Capital to provide
finance against the VSI invoice, also known as a receivable. VSI then sold the same steel
to Sanjeev Gupta’s CS Management Services before selling the steel back to Liberty Steel
Newport.153 Finally, the same steel was reportedly then to be sold to a third party with
Liberty Steel Newport raising money from Greensill Capital against an invoice for a
second time against the same steel.154

83. GFG Alliance told us that media reports of circular trading were “misleading”.155
GFG Alliance described the arrangements that led to circular trading media reports about
Liberty Steel Newport stating that “raising finance through a temporary sale of inventory
not needed immediately, with an agreement to buy it back later when needed, using a
bilateral or tripartite Repurchase agreement (REPO) structure is common not only in
commodities but even more so in financial markets”.156 GFG Alliance set out that “once
repurchased the inventory will eventually be sold on to a final consumer and again raising
finance against that sale would be normal”.157 GFG Alliance asserted that Liberty Steel
Newport “abided by all the normal rules that apply to such inventory-based financing and
did so in full knowledge of all parties involved”, and that all funding was repaid in full as
well as financial gains for investors.158

84. Although a company selling products and repurchasing them at a later date is legal,
when asked whether the REPO structure described by GFG Alliance is a legitimate
business operation for a steel business, Professor Siddiqui told us that, “you are selling the
same product in a sense. You have the same product being sold out to a company and then
you are purchasing it back. It does not look like a regular practice to me”.159 Professor Yang
agreed stating that “this is quite unusual”, as it would be “quite easy to get inventory-based
financing” on Liberty Steel products as opposed to finding sellers, signing repurchasing
agreements and borrowing against accounts receivable.160

85. Lex Greensill said that “to the best of my knowledge, Greensill Capital did not engage
in circular financing”.161 He denied that Greensill Capital was at any point party to bilateral
or tripartite repurchase agreements outlined in GFG Alliance’s written evidence.162

86. GFG Alliance’s reported engagement in circular trading, or REPO structures,
exacerbated a concentration risk to Greensill Capital by raising large amounts of
working capital against invoices created to raise finance instead of selling steel to
genuine customers.


152   The Sunday Times, Revealed: Sanjeev Gupta’s circular money trail, 17 April 2021
153   The Sunday Times, Revealed: Sanjeev Gupta’s circular money trail, 17 April 2021
154   The Sunday Times, Revealed: Sanjeev Gupta’s circular money trail, 17 April 2021
155   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 15, para 60
156   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 15, para 60
157   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 15, para 60
158   Business, Energy and Industrial Strategy Committee, Written evidence submitted by GFG Alliance (LS0008),
      Published 6 July 2021, p 15, para 60
159   Q 466
160   Q467
161   Business, Energy and Industrial Strategy Committee, Correspondence from Lex Greensill, Dated 21 July 2021
162   Business, Energy and Industrial Strategy Committee, Correspondence from Lex Greensill, Dated 21 July 2021




                                                                                                                  CRK-2/1713
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 26 of 79

24   Liberty Steel and the Future of the UK Steel Industry




87. We did not receive evidence that the use of circular trading between companies
is a systemic issue, but note the potential criminal liability associated with the worst
examples of financial engineering between businesses. Despite repeated reassurances
from GFG Alliance, we remain unconvinced by Sanjeev Gupta’s attempts to re-structure
and re-finance his businesses. We are not satisfied that Sanjeev Gupta is adequately
addressing the many fundamental issues and concerns associated with the corporate
governance, leadership, transparency, funding and operations of his businesses and
remained concerned that this poses a threat to the long-term prospects of Liberty Steel
UK.




                                                                                      CRK-2/1714
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 27 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry        25




4 Coronavirus Large Business
  Interruption Loans Scheme
88. In March 2020, the Chancellor of the Exchequer, Rishi Sunak MP, announced
the Coronavirus Business Interruption Loan Scheme (CBILS), as a means of financial
support for businesses in response to the economic challenges faced due to the COVID-19
pandemic. This scheme offered financial support to small and medium-sized businesses
(SMEs) across the UK with a turnover of up to £45 million that were experiencing a loss
in revenue and a disruption to cash flow. On 3 April, this scheme was extended, and the
Coronavirus Large Business Interruption Loans Scheme (CLBILS) was announced. These
schemes supported businesses with a turnover of more than £45 million to access loans,
overdrafts, and other types of finance.163

89. The scheme was delivered through commercial lenders such as accredited banks,
providing up to £200 million in the form of facilities such as term loans, overdrafts, invoice
finance or asset finance directly to businesses.164 The loans were backed by a Government
guarantee, that in the event of the borrower failing to repay the loan, the Government
would repay the lender 80% of the loan’s value. Lenders had to comply with the scheme
rules in order to benefit from the guarantee.165 The loan schemes were developed jointly by
the BEIS Department, HM Treasury and the British Business Bank,166 and administered
by the British Business Bank.167

90. Through the CLBIL scheme Greensill Capital was able to lend £350 million to
Liberty Steel UK companies. An investigation by the British Business Bank is currently
underway into the misuse of these loans by Greensill Capital and the guarantees have
been suspended.168

91. The Treasury Committee169 and Public Accounts Committee’s170 respective Lessons
from Greensill Capital inquiries as well as the National Audit Office’s Investigation into
the British Business Bank’s accreditation of Greensill Capital,171 have assessed in detail,
aspects of Greensill Capital’s financial conduct and relationship with the UK Government.
Our interest is in understanding the financial risk to the taxpayer through the direct
funding of a major foundational industry, via the complex and precarious means used by
Greensill Capital and GFG Alliance.




163   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p 4, para 2
164   British Business Bank, Coronavirus Large Business Interruption Loan Scheme (CLBILS)
165   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p 4, para 2
166   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p 4, para 3
167   National Audit Office, British Business Bank Report, 10 January 2020, p 5, para 3; The Bank is owned by the
      Government, and the BEIS Department is the sole shareholder which has wider policy responsibility for business
      and enterprise.
168   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p 10, para 14–15
169   Treasury Committee, Lessons from Greensill Capital
170   Public Accounts Committee, Lessons from Greensill Capital
171   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital




                                                                                                                    CRK-2/1715
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 28 of 79

26     Liberty Steel and the Future of the UK Steel Industry




Greensill Capital’s Coronavirus Corporate Finance Facility (CCFF) and CLBILS
applications and lending

92. Between March and June 2020, Greensill Capital applied to be part of the Coronavirus
Corporate Finance Facility (CCFF) scheme.172 The scheme was announced on 17 March
2020 as a joint HM Treasury and Bank of England lending facility, designed to support
larger firms by helping them to bridge disruption to their cash flows as a result of
COVID-19 through the purchase of short-term debt in the form of commercial paper
(CP).173 On 26 June 2020, HM Treasury informed Greensill Capital they did not meet the
eligibility criteria for the CCFF.174

93. During the same time period, Greensill Capital made two separate applications to be
accredited for CLBILS. The first application was submitted on 19 April 2020 to offer the
invoice finance variant.175 Another separate application was submitted on 12 June 2020
for accreditation under the term loan and revolving credit facility variants. This second
application also requested approval to participate in the Larger Scheme Facility, to allow
it to make loans of more than £50 million.176

94. Greensill Capital was authorised by the British Business Bank to lend a maximum of
£400 million CLBILS. This £400 million was comprised of eight loans of £50 million each.177
Although the CLBILS rules specified that loans to the same borrower or to any member
of the borrower’s group could not exceed £50 million, (with the exception that Larger
Scheme Facility accredited lenders could provide loans of up to £200 million per group),
Greensill Capital provided six CLBILS loans, totalling £300 million, to six companies that
appeared to be associated with GFG Alliance. It appeared that one further loan had been
given to SIMEC International (UK) Limited in July, also a GFG Alliance company. All
seven loans were of £50 million each.178

95. As Greensill Capital was not accredited to the Larger Scheme Facility, the NAO
reported that the British Business Bank was “concerned that Greensill’s activity may
have contravened the scheme rules on lending to groups”, as lending over £50 million to




172   Treasury Committee, HM Treasury Correspondence to Treasury Committee, 7 May 2021
173   Bank of England, Covid Corporate Financing Facility (CCFF)
174   Treasury Committee, HM Treasury Correspondence to Treasury Committee, 7 May 2021, p 6; At a summary
      level, to be eligible for the CCFF scheme, applicants needed to: Make a material UK contribution, Be investment
      grade rated (or equivalent) as at 1 March 2020 (as supplemented by the ongoing credit quality review described
      below), Not be PRA- or FCA-regulated and, Not be a public undertaking, Not be a leveraged investment vehicle
175   Invoice finance is a form of lending used to support cash flow and release funding for investment by raising
      funds against unpaid invoices. It is often used by businesses that sell products or services on credit to other
      businesses.
176   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 26, para 2.11
177   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 33, para 3.2 and 3.3
178   The seven GFG Alliance companies that received CLBILS loans were: SIMEC International (UK) Limited, Speciality
      Steel UK Limited, Liberty Commodities Limited, Liberty Industries UK Limited, Liberty Steel Newport Limited,
      Liberty Pipes (Hartlepool) Limited, Liberty Merchant Bar Plc; National Audit Office, Investigation into the British
      Business Bank’s accreditation of Greensill Capital, 7 July 2021, p. 36, para 3.5 and 3.6




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 29 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry       27




one group would require the British Business Bank to be notified and approve the loans
beforehand.179 In this instance GFG Alliance had been treated as a single group, therefore,
Greensill Capital’s lending was £300 million above the lending limits applicable to it.180

96. Given the subsequent collapse of Greensill Capital, and the suspension of the
Government’s £350 million loan guarantee181 witnesses raised the question about the
adequacy of information sharing between HM Treasury, BEIS and the British Business
Bank, in the context of the accreditation of Greensill Capital to CLBILS being a potential
risk due to its relationship with GFG Alliance and Wyelands Bank (also owned by Sanjeev
Gupta). Both the Treasury Select Committee and the Public Accounts Committee explored
this issue in detail and confirmed that appropriate information had been shared.182 The
Secretary of State for BEIS confirmed to us that the Bank of England did not raise any
issues about Greensill Capital in correspondence as “there did not appear to be any reason
to disclose such sensitive information to any further parties, including the BBB”.183

Interest in Greensill Capital’s CLBILS accreditation by BEIS

97. The British Business Bank noted that BEIS officials had a high level of interest in
Greensill Capital’s accreditation as a CLBILS lender between April and September 2020.184
The National Audit Office (NAO) noted that the British Business Bank typically makes
accreditation decisions independently, except for the Larger Scheme Facility, and keeps
both HM Treasury and the BEIS Department informed. BEIS took an interest in Greensill
Capital’s accreditation given its status as a financier to Liberty Steel UK.185 GFG Alliance
had previously requested a £170 million grant on behalf of Liberty Steel UK in March
2020.186

98. The BEIS Department viewed direct support to Liberty Steel “as a last resort, requiring
a strong strategic case”. BEIS did not consider a bespoke guarantee to be necessary as they
were developing business support schemes that might offer Government guarantees to
Greensill Capital. The Department, therefore, suggested to Liberty Steel UK that Greensill
Capital could apply for those schemes. Greensill Capital subsequently applied to the
British Business Bank for accreditation.187

179   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 36, para 3.5 and 3.6
180   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 36, para 3.7
181   The total amount of Government guarantees suspended was £400 million. This includes the suspension of
      the eighth £50 million Government backed loan guarantee. The recipient of this loan is named as Aar Tee
      Commodities (UK), a metals trading company owned by Sanjeev Gupta’s associate Ravi Trehan. It is reported
      that Mr Trehan formerly owned a minority stake in Liberty Commodities and was previously a board member of
      GFG Alliance’s charitable foundation.
182   Discussion about information sharing between HM Treasury, the BEIS Department and the British Business
      Bank about GFG Alliance, Wyelands Bank and Greensill Capital can be found in the following evidence sessions:
      Treasury Committee, Oral evidence: Lessons from Greensill Capital, HC 151, 27 May 2021, Q 438, Q439; Public
      Accounts Committee, Oral evidence: Lessons from Greensill Capital, HC 169, 22 July 2021, Q 2
183   Business, Energy and Industrial Strategy Committee, Correspondence from Rt Hon Kwasi Kwarteng MP Secretary
      of State Department for Business, Energy & Industrial Strategy, Dated 4 August 2021
184   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 31
185   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 30, para 2.22
186   Q 517
187   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 30




                                                                                                                    CRK-2/1717
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 30 of 79

28     Liberty Steel and the Future of the UK Steel Industry




99. We have been given sight of the eight email exchanges between BEIS and the British
Business Bank between April and September 2020 requesting updates on Greensill
Capital’s accreditation to CLBILS and the Larger Scheme Facility.188 A number of these
emails confirmed that Liberty Steel was lobbying the BEIS Department for financial
support for Greensill Capital, as one of its clients. The Department were keen to know
the outcome and wanted the decision to be prioritised, so that, if necessary, alternative
support options could be considered for Liberty Steel UK. The NAO concluded that the
British Business Bank did not prioritise Greensill Capital’s application as it could delay the
accreditation of other lenders.189

100. While the BBB noted that the BEIS Department level of interest in Greensill Capital’s
accreditation was “unusual”,190 the Department explained that its “level of interest was
not specifically about Greensill but rather its connection to the steel industry, as the
Department considers disruptions in this sector can have disproportionate impacts across
a range of industries”.191

101. The BEIS Secretary of State told us that “we were in very unusual times”.192 He
drew our attention to the NAO’s report, Investigation into the British Business Bank’s
accreditation of Greensill Capital, which “made clear that it is not uncommon for BEIS
to request updates on the accreditation of lenders”. The Secretary of State added that
the Department needed to stay up to date on the progress of applications as these were
“unprecedented and challenging times, and it was important that, as a Department, we
were preparing for all potential outcomes”.193

102. We note that concerns were raised by HM Treasury and shared with BEIS about
GFG Alliance and Wyelands Bank during the accreditation process of Greensill
Capital to the CLBIL scheme.

103. We recognise that the subsequent level of interest from the BEIS Department
about the accreditation of Greensill Capital was “unusual” but we are confident that
this did not impact the approval process and the British Business Bank’s decision
remained independent. Given the potential impact of the financial position of Greensill
Capital on Liberty Steel’s UK operations, we acknowledge the due diligence of both the
Secretary of State and his officials in monitoring the accreditation process closely was
entirely proper.

104. However, the collapse of Greensill Capital and its impact on Liberty Steel UK
highlights the fragility of the sector in the UK more generally and raises far reaching
and fundamental questions for the Government to consider in terms of how it should
work with the industry to secure a sustainable, long-term future.

188   Business, Energy and Industrial Strategy Committee, Letter from the British Business Bank on Greensill Capital’s
      application for accreditation under the Coronavirus Large Business Interruption Scheme (CLBILS), dated 19 July
      2021
189   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 31
190   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 31
191   National Audit Office, Investigation into the British Business Bank’s accreditation of Greensill Capital, 7 July
      2021, p. 31
192   Q 575
193   Business, Energy and Industrial Strategy Committee, Correspondence to the Business, Energy and Industrial
      Strategy Committee, 10 August 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 31 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry        29




5 Challenges and opportunities facing
  the UK steel industry
105. The risk to Liberty Steel UK following the collapse of Greensill Capital has exposed
the vulnerability of an industry described by the Government as a “national strategic
asset” which will “play a critical role in providing the materials necessary to drive the UK’s
green industrial revolution.”194 As a “foundation industry”195 steel is vital for the UK’s
manufacturing and construction sectors and sits at the base of a number of industrial
sectors including automotive, construction, energy, aerospace, yellow goods and others.196

106. The UK steel industry employs a total of 33,700 people with a further 42,000 jobs
supported in the supply chain.197 However, these jobs are spread unevenly across the
UK, being heavily concentrated in Wales (28%) and Yorkshire and Humberside (28%),
followed by the north of England (15.5%) and the West Midlands (12.5%) with only a
small minority located in the south (8%).198 Jobs in the steel industry are also relatively
well-paid with average salaries 33% higher than the national average and 45% higher
than the average in Wales and Yorkshire and Humberside.199 As such, not only does steel
underpin a range of domestic supply chains, it forms the core of local communities, many
of which are located in areas of relative deprivation.200 As one of the largest employers in
the local area, the potential closure of Liberty Steel’s sites at Rotherham and Stocksbridge
alone would, according to recent comments made by steelworkers employed at the sites,
“decimate” both areas and leave parts of the defence sector dependent on global markets.201
If the Government is serious about its “levelling up” agenda,202 it therefore cannot afford
to oversee the continued decline of the UK steel industry.

107. The second part of our report will therefore examine some of the broader issues facing
the UK steel industry and how it can secure a more sustainable future. The Government
has claimed that it is committed to “doing everything it can to help the UK steel industry
secure a long-term viable future.”203 However, evidence submitted to our inquiry identified
a number of challenges which continue to threaten the industry’s viability, with three key
issues in particular highlighted by the witnesses we heard from. First, high electricity
prices continue to be a significant financial burden for UK steel producers and are having
a pernicious effect on inward investment, with the situation potentially made worse by
Ofgem’s upcoming Targeted Charging Review;204 second, UK steel producers continue to
encounter challenges in competing for and securing public contracts; and third, the UK
steel sector is uniquely vulnerable to global trade pressures as a result of protections in
place in both the EU and the US.

194   Department for Business, Energy and Industrial Strategy, Business Secretary co-chairs third UK Steel Council
      meeting of 2021, 21 July 2021
195   UK Government, Transforming foundation industries, 30 October 2019
196   UK Steel, UK Steel Sites & Statistics (2nd edition), May 2018
197   UK Steel, Key Statistics Guide April 2021, page 3
198   House of Commons Library, Briefing Paper 07317: UK steel industry: statistics and policy, 2 January 2018, page 6
199   UK Steel, Key Statistics Guide April 2021, page 3
200   House of Commons Library, Constituency data: Indices of deprivation, 21 September 2020
201   The Guardian, ‘If it shuts it will be a disaster’: Rotherham fears for its steel industry, 15 March 2021
202   For our report on the Government’s levelling up agenda see: Business, Energy and Industrial Strategy
      Committee, Post-pandemic economic growth: Levelling up, Third Report of Session 2021–22, 22 July 2021
203   Department for Business, Energy and Industrial Strategy, UK steel industry, 8 June 2016
204   Ofgem, Targeted Charging Review: Decision and Impact Assessment, 18 December 2019




                                                                                                                     CRK-2/1719
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 32 of 79

30     Liberty Steel and the Future of the UK Steel Industry




108. In addition to these challenges, the Government has committed to reaching net zero
emissions by 2050205 and a 78% reduction in emissions by 2035.206 These ambitions were
set out in the Government’s Industrial Decarbonisation Strategy published in March
this year207 and the Business Secretary has stated his expectation that any future support
for the industry must be “allied with a commitment on the part of the industry towards
decarbonisation and producing clean steel.”208 To support the industry’s transition to
net zero the Government has announced an Industrial Energy Transformation Fund
to support the development and deployment of low carbon technologies;209 a Clean
Steel Fund to support the UK steel sector to transition to lower carbon iron and steel
production;210 along with a Hydrogen Strategy which sets out how the Government will
support the production and use of low carbon hydrogen211 and a Net Zero Hydrogen Fund
to support new hydrogen production projects.212 However, it remains an open question
which technology or mix of technologies will be favoured for the transition to net zero
and while we heard that decarbonisation will bring with it opportunities for the sector,
we also heard that more support and direction are needed if the industry is to meet the
Government’s targets.

109. This chapter will examine these issues and some of the solutions proposed to deal
with them while the following chapter will look at how these might be pulled together into
a broader strategy to set the industry on the path to a more viable and sustainable future.

Energy prices
110. While improvements in energy efficiency have led to a reduction in the energy
demands of steelmaking over time,213 steel production and processing remain highly
energy intensive. According to the World Steel Association, energy costs represent
anywhere between 20% and 40% of the total cost of steel production.214 Both of the
principal methods of steel production are energy intensive, though energy inputs differ
depending on the method of production. In the case of blast furnaces,215 approximately
89% comes from coal, 7% from electricity, 3% from natural gas and 1% from other sources.
In the case of electric arc furnaces, 50% comes from electricity, 38% from natural gas, 11%
from coal and 1% from other sources.216

111. UK steel producers are currently facing some of the highest electricity prices in
Europe. According to the Government’s most recent survey of international industrial
energy prices, the UK’s industrial electricity prices including taxation were the third
highest in the International Energy Association (IEA), the third highest in the G7 and
49% above the IEA median. Excluding taxes, UK prices were the third highest in the IEA,

205   Department for Business, Energy and Industrial Strategy, UK becomes first major economy to pass net zero
      emissions law, 27 June 2019
206   Department for Business, Energy and Industrial Strategy, UK enshrines new target in law to slash emissions by
      78% by 2035, 20 April 2021
207   HM Government, Industrial Decarbonisation Strategy, 17 March 2021
208   Q19
209   World Steel Association, Energy use in the steel industry, April 2021, page 1
210   World Steel Association, Energy use in the steel industry, April 2021, page 1
211   World Steel Association, Energy use in the steel industry,April 2021, page 1
212   World Steel Association, Energy use in the steel industry, April 2021, page 1
213   World Steel Association, Energy use in the steel industry, April 2021, page 1
214   World Steel Association, Energy use in the steel industry, April 2021, page 1
215   Further detail on blast furnaces and other technical terms can be found in Annex A of this report.
216   World Steel Association, Energy use in the steel industry, April 2021, page 1




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 33 of 79

                                                         Liberty Steel and the Future of the UK Steel Industry          31




the second highest in the G7 and 58% above the IEA median.217 Analysis by UK Steel
earlier this year found that the average electricity price disparity between the UK and
Germany stood at £22/MWh and at £18/MWh between the UK and France, meaning
that UK steel producers were paying 86% and 62% more, respectively, than their German
and French competitors. This price disparity represents a total additional cost to UK steel
producers of £54 million per year compared to those in Germany, the equivalent of 25%
of annual capital investment across the sector.218

112. Steel companies repeatedly told us that energy prices are one of the biggest challenges
facing the industry. Dr Henrik Adam, Chief Executive Officer of Tata Steel in Europe, said
that, with respect to electricity prices, UK steel producers were not competing on a “level
playing field” with producers in Europe.219 He claimed that, even after compensation
from the UK Government, Tata Steel was paying “almost double” the price for energy
compared with competitors in Germany and “significantly higher” than competitors in
France.220 Liberty Steel UK told us that, as an electric arc furnace operator with a number
of downstream operations, a significant proportion of fixed costs associated with their
GREENSTEEL production and products were attributable to electricity costs.221 Jon
Bolton, former Chief Executive Officer of Liberty Steel UK and a member of the GFG
Advisory Board, cited “significant” electricity costs as a challenge for Liberty Steel UK and
other steel businesses222 and claimed that competitive energy costs would help support
investment in the sector.223

113. As steel producers operate in a highly competitive international market they are
unable to pass the cost of high electricity prices on to consumers, reducing profit margins
and the availability of internal capital available for investment.224 Furthermore, as the
sector is dominated by large multinational organisations with multiple plants in different
countries, the persistent high cost of electricity in the UK has acted as a long-term deterrent
to inward investment and this “chronic cycle of low margins and barriers to sufficient
investment” has placed the UK steel sector’s long-term sustainability at risk.225

114. The problem of high electricity prices has gained even greater significance in the
context of ambitions to decarbonise the industry. UK Steel told us that internationally
competitive electricity prices were “perhaps the key determinant in the viability of low-
carbon steel production” as every pathway available to achieve decarbonisation requires
significant increases in electricity consumption.226 According to their estimates, the
conversion of blast furnaces to electric arc furnaces would require between two to three
times more electricity and hydrogen-based steel production would require between
six to seven times more electricity, while carbon capture and storage would “increase
energy requirements significantly.”227 UK Steel noted that, if clean steel production is


217   UK Government, International industrial energy prices, Industrial electricity prices in the IEA (QEP 5.3.1), 22
      December 2020
218   UK Steel (LS0006)
219   Q89
220   Q89
221   GFG Alliance (LS0008)
222   Q119
223   Q121
224   UK Steel (LS0006)
225   UK Steel (LS0006)
226   UK Steel (LS0006)
227   UK Steel (LS0006)




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 34 of 79

32     Liberty Steel and the Future of the UK Steel Industry




highly electricity-intensive, steel companies will choose to invest in those countries where
electricity prices are internationally competitive and “at present this is clearly not the
UK.”228

115. High electricity prices are hindering the ability of UK steel producers to compete on
the international market and are a deterrent to inward investment. If the Government
is serious about decarbonising the steel industry, it must first recognise the severity of
the challenge energy prices pose to steel companies in achieving the transition to net
zero and take action to reduce these costs.

116. The increase in wholesale gas prices over the past year229 has recently transformed
what was a long-standing problem into an immediate crisis. In September this year, British
Steel were warning of a fifty-fold increase in quoted rates and a maximum price at peak
times of up to £2,500/MWh compared with an average rate of £50/MWh in April, making
it impossible to produce profitably at certain times of the day.230 The chief executive of
Celsa Steel UK claimed that surges in electricity prices were “at risk of forcing good
businesses to stop production or face financial ruin by continuing to operate.”231 Sudden
shutdowns could also lead to damaged equipment, poorer environmental performance
and disruption to downstream supply chains.232

117. While wholesale gas prices have increased by 400% across Europe this year, the
increase has been sharper in the UK than in many other parts of the continent.233 UK
Steel has estimated that, in the last eight months alone, the disparity in electricity prices
faced by UK and German steel companies has doubled, with UK producers facing prices
over £35/MWh more than those faced by their German counterparts.234 During the
extreme spikes in prices seen in September, UK Steel has estimated that producers were
facing prices as high as £109/MWh more.235

118. In response to the crisis, the Business Secretary submitted a formal request to the
Treasury for increased financial support for manufactures struggling with high energy
costs.236 Options under consideration are reported to include providing short-term loans
or guarantees while gas prices remain high or rewriting the compensation scheme for
energy-intensive industries.237 However, UK Steel has responded to these proposals by
arguing that any proposal to lend money to steel businesses to help with soaring gas prices
would be little more than a “sticking plaster” and that solutions will be needed for “what
is a significant long-term problem.”238

119. UK steel producers were already facing some of the highest electricity prices in
Europe prior to recent rises in the wholesale price of gas. Soaring gas prices have since
transformed what was a long-standing problem into an immediate crisis. We urge the


228   UK Steel (LS0006)
229   BBC, Why are gas prices so high and what is happening to fuel bills?, 12 October 2021
230   Financial Times, British Steel warns of 50-fold increase in power prices, 21 September 2021
231   Financial Times, British Steel warns of 50-fold increase in power prices, 21 September 2021
232   Reuters, Crisis looms in Britain, steel makers warn, 11 October 2021
233   Reuters, Crisis looms in Britain, steel makers warn, 11 October 2021
234   Financial Times, British Steel warns of 50-fold increase in power prices, 21 September 2021
235   Reuters, UK Steel says government needs to help steelmakers after energy price spike, 12 October 2021
236   The Guardian, No 10 backs Kwasi Kwarteng as split with Treasury emerges in energy row, 11 October 2021
237   The Guardian, No 10 backs Kwasi Kwarteng as split with Treasury emerges in energy row, 11 October 2021
238   The Guardian, UK steel industry says energy loan plan is just a ‘sticking plaster’, 12 October 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 35 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry        33




Government to support UK steel producers but note that short-term bailouts must not
be at the expense of a longer-term strategy to secure a level playing field for UK steel
producers with their European counterparts.

Action on electricity prices

120. As with many of the challenges facing the UK steel industry today, high electricity
prices have been a long-standing problem. Our predecessor Committee’s report published
in response to the 2015–16 steel crisis noted that, at the time, the UK’s industrial electricity
prices were the highest in the EU239 and that these costs made up a “significant proportion”
of costs for UK steel producers.240 In May this year, the Secretary of State conceded that
it was “common knowledge” that steel companies in France and Germany faced lower
electricity prices than UK companies and that “this has been a problem that has been
highlighted for some years, and we are trying to find solutions to it.”241

121. The Government noted in their written submission to our inquiry that £500 million
in relief for electricity costs (now over £600 million)242 has been provided to the steel
sector since 2013.243 This includes reductions in the indirect costs due to the Contracts
for Difference, Renewables Obligation and Small-Scale Feed-In Tariff and compensation
for the indirect emission cost due to the UK Emission Trading System and Carbon
Price Support mechanism.244 However, this does not appear to have translated into a
meaningful reduction in the price disparity faced by UK steel producers as reported by
the steel companies we heard from.245 It has been estimated that taken together these
exemptions and compensation packages have reduced policy costs for UK steel producers
from a gross value of £71/MWh to a net £19/MWh but this remains significantly higher
(around double) than the net £10/MWh paid by steel companies in Germany and the £8/
MWh paid in France.246

122. Furthermore, UK steel producers pay significantly higher network costs. While total
network costs are similar across the UK, France and Germany at around €33–36/MWh,
industrial consumers in the UK pay a much higher proportion of these costs, as the French
and German governments have chosen to reduce these costs for industry and allocate
them elsewhere.247 As a result, UK steel producers pay between eight and ten times more
in network charges than their direct competitors.248

123. We heard the Government’s action on electricity prices to date described by Gareth
Stace of UK Steel, the trade association for the UK steel industry, as follows:

            The Government have always said, “yes, we’ve dealt with energy prices,”
            but they have not. We as UK Steel, for the last five years, annually produce
239   Business, Innovation and Skills Committee, The UK steel industry: Government response to the crisis, First Report
      of Session 2015–16, 21 December 2015, page 12
240   Business, Innovation and Skills Committee, The UK steel industry: Government response to the crisis, First Report
      of Session 2015–16, 21 December 2015, page 13
241   Q18
242   Correspondence to the Business, Energy and Industrial Strategy Committee, 10 August 2021
243   Department for Business, Energy and Industrial Strategy (LS0004)
244   Minister of State (Business, Energy and Industrial Strategy), Answer to written question UIN 170785, 17 March
      2021
245   Q89, Q119
246   UK Steel, Closing the Gap, 4 February 2021, page 12
247   UK Steel, Closing the Gap, 4 February 2021, page 10
248   UK Steel, Closing the Gap, 4 February 2021, page 10




                                                                                                                     CRK-2/1723
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 36 of 79

34     Liberty Steel and the Future of the UK Steel Industry




            an electricity price disparity report. Every year it produces that France and
            Germany pay 80% less or we pay 80% more for electricity than they do. It
            has stayed the same. Government say, “yes, we must do something about
            this” […]. However, we have not ever seen where the Government have said,
            “we are going to do it,” and we do it.249

124. UK Steel submitted a number of detailed proposals on how the price disparity faced
by UK steel producers might be reduced. These included compensating or exempting UK
steel producers from the Carbon Price Support and/or Capacity Market costs; increasing
the level of renewable levy exemptions; and implementing network cost reductions similar
to those in France and Germany.250 UK Steel estimated that a reduction in network costs
alone, similar to what is available to German industry (where a reduction of up to 90% is
available to eligible companies), would reduce costs for UK steel producers by £25 million
per year.251 These reductions would inevitably mean allocating costs elsewhere, as happens
in France and Germany, but to date the Government appears hesitant to reallocate costs
to other network users and no action has been taken beyond the compensation offered
in relation to policy costs. Dr Henrik Adam, Chief Executive Officer of Tata Steel in
Europe, told us that other European countries “clearly favour and support industry and
manufacturers that have a high demand on energy much more than we do in the UK
today”252 and confirmed that this would mean reducing the cost for industry but potentially
pushing the cost on to consumers.253 When asked about action on high electricity prices
in July, the Government stated that:

            UK steel producers are paying more than their European competitors for
            electricity and this is a key area where we need to consider options. When
            doing so, we also need to be conscious about how fundamental power is to
            every business and every household and to human life. Decisions on the
            price of electricity will need to be carefully considered to ensure that it is
            fair for all network users.254

125. We recognise that decisions on how and whether to compensate industry for
the costs of electricity will, by necessity, have implications for consumers and other
network users. However, it is clear that current electricity costs for UK steel producers
are unsustainable. Compensation provided by the Government to the UK steel industry
to date has fallen far short of the support offered to their competitors and has not
translated into a meaningful reduction in the price disparity. Energy policy costs have
been brought down but remain twice as high as those in France and Germany while
network costs are almost ten times as high. Further support from the UK Government
will be needed if the UK steel industry is to compete on a level playing field and
attract investment. This issue will only become more urgent as the industry moves to
decarbonise and the sector’s demand for electricity rises accordingly.



249   Q43
250   The Carbon Price Support is the UK’s tax on carbon emissions while the Capacity Market operates as a charge
      based on a supplier’s net share of demand during periods of high demand on the network. Further detail on
      these costs can be found in Annex A of this report.
251   UK Steel (LS0006)
252   Q90
253   Q91
254   Correspondence to the Business, Energy and Industrial Strategy Committee, 10 August 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 37 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry         35




126. If additional support is not forthcoming, high electricity prices will continue to
have a pernicious effect on the UK steel industry, resulting in long-term decline and
future crises. The Government should set out, following a consultation with industry,
what support it will offer beyond the current compensation scheme to reduce the cost of
electricity for UK steel producers and bring them in line with those of their competitors.
At a minimum, the price disparity should be brought down to within £1/MWh of the
total cost faced by key competitors in France and Germany and the Government should
track any disparity going forward to ensure it does not widen again.

Targeted Charging Review

127. In August 2017, Ofgem announced the launch of its ‘Targeted Charging Review’
which aimed to address concern that the current framework for residual charging could
result in inefficient use of electricity networks. In particular, Ofgem sought to tackle the
issue of certain network users adjusting the timing and volume of their production or
consumption of electricity to reduce their exposure to charges, therefore pushing charges
onto network users who are not able to do this (mainly residential and small business
consumers).255

128. Subject to Ofgem consultation, changes to Distribution Use of System charges are
set to come into force in April 2022 and Transmission Network Use of System charges in
April 2023.256 Among other changes, from this date charges for non-domestic consumers
will be based on a series of fixed charging bands rather than being determined through
Triads (the three highest winter peak periods).257 Currently, certain businesses (including
steel producers) can save money on electricity bills by reducing their consumption or
switching to onsite generation during forecast Triad periods but once these changes are
implemented they will no longer be able to do so.258

129. We heard concern that, when implemented, the Targeted Charging Review will more
than double network charges and could almost triple charges for UK steel producers,
resulting in a situation in which UK steel producers face network charges that are 24–60
times higher than their competitors in Germany and France, respectively. Were this to
happen, network charges would be the single largest electricity price element and “cancel
out much of the positive impact of the Government’s Energy Intensive Industries package.”259
This is the means by which certain electricity-intensive businesses, such as steel producers,
are exempted from the indirect costs of the Contracts for Difference and Renewables
Obligation schemes and the Small-Scale Feed-In-Tariff.260 According to analysis by UK
Steel, these exemptions and compensation have reduced policy prices from a gross value
of £71/MWh to a net £19/MWh,261 a reduction of £52/MWh. However, without mitigating
action, the Targeted Charging Review is set to increase the price disparity by £17/MWh262
and make network costs the single largest electricity price element in the UK.263


255   Ofgem, Targeted Charging Review - Significant Code Review launch statement, 4 August 2017
256   Energy Intelligence Centre, Targeted Charging Review (TCR) Guide, 28 September 2021
257   Energy Intelligence Centre, Targeted Charging Review (TCR) Guide, 28 September 2021
258   Energy Intelligence Centre, Targeted Charging Review (TCR) Guide, 28 September 2021
259   Q91
260   Department for Business, Energy and Industrial Strategy, Energy Intensive Industries (EIIS), 1 December 2020
261   UK Steel, Closing the Gap, 4 February 2021, page 12
262   UK Steel, Closing the Gap, 4 February 2021, page 11
263   UK Steel, Closing the Gap, 4 February 2021, page 10




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 38 of 79

36     Liberty Steel and the Future of the UK Steel Industry




130. When asked what assessment had been made of the potential effect of the Targeted
Charging Review proposals on the UK steel sector earlier this year, the Government
answered that “network charging is a matter for Ofgem, as the independent regulator, and
decisions on its Targeted Charging Review are for it to make.”264

131. When implemented, the Targeted Charging Review has the potential to burden UK
steel producers with costs exceeding relief provided to the sector as an energy intensive
industry. We note that despite this decision having a potentially significant impact on
UK steel producers it has been left entirely to Ofgem without the opportunity for the
Government to intervene.

132. Given that UK steel producers are already facing some of the highest electricity
prices in Europe and that demand for electricity will only increase as the sector
decarbonises, the Government should exempt the steel sector from increased costs
arising from Targeted Charging Review reforms.

Public procurement

Government policy on public procurement

133. The Government is a major buyer of steel with an estimated steel requirement of 7.6
million tonnes over the next decade.265 By comparison, in 2019 (prior to the COVID-19
pandemic) the UK produced 7.2 million tonnes of crude steel266 which would make public
steel requirements equivalent to approximately 10% of domestic steel production. This
significant purchasing power could be harnessed to support the UK steel sector and
deliver wider benefits. UK Steel lists some of the benefits of using procurement policy to
support UK steel producers as being:267

      •     Increasing the economic value a project delivers to the UK

      •     Increasing the ability and potential of each project to spread its economic benefits
            across the UK

      •     Increasing the interest in the competitive process and therefore helping to deliver
            best value for money

      •     Delivering against a wider range of outcomes beyond just upfront cost, such as
            the social and environmental benefits that can flow from procurement decisions

      •     Providing a strong pipeline of projects in the UK that helps anchor manufacturing
            and accompanying innovation here in the UK




264   Minister of State (Business, Energy and Industrial Strategy) (Energy and Clean Growth), Answer to written
      question UIN 149257, 4 February 2021
265   Department for Business, Energy and Industrial Strategy, Steel public procurement 2021, 19 May 2021
266   World Steel, 2021 World Steel in Figures, 3 June 2021, page 9
267   UK Steel, Maximising Value: Positive Procurement of Steel, 2021, page 2




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 39 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry      37




134. Guidance on the public procurement of steel was first published in October 2015 in
the form of the Procurement Policy Note (PPN) on procuring steel in major projects.268
This was subsequently revised in December 2016 to make it more suited to wider public
sector use.269 The measures contained in the PPN sought to:

            Ensure that Government applies a more strategic and transparent approach
            to the sourcing of steel in major projects [which] should stimulate greater
            competition and lead to better value for money, while helping to address the
            barriers that prevent UK suppliers from competing effectively.270

The PPN sets out a number of considerations to inform contracting authorities’
procurement strategies, taking into account social issues and broader Government-wide
and Departmental objectives such as economic growth and the encouragement of a more
diverse supplier base. Some of these considerations include:271

      •     Contractors’ capability in relation to supply chain management

      •     Sustainable sourcing and production

      •     Skills and training of the workforce engaged on the contract

      •     Targeting new employment opportunities at the long-term unemployed

      •     Benefits to the local community affected or engaged with the project

135. The revised PPN published in December 2016 was accompanied by the first ‘Steel
Pipeline,’272 an indicative list bringing together all planned and ongoing infrastructure
projects requiring steel with the aim of enabling UK steel producers to plan and bid
for Government contracts more easily. This was followed up by an updated pipeline
in December 2017 which showed how the Government was planning to use 3 million
tonnes of steel over the next five years on infrastructure projects including High Speed
2 (HS2), the construction of Hinkley Point and the maintenance and upgrading of the
UK’s motorway network.273 A further update was published in October 2020 outlining
steel requirements up to 2030 along with a review of how Government Departments
had applied the steel procurement guidance contained in the PPN.274 These documents
showed that the reported proportion of steel procured within the UK for public projects
for the financial year 2018–19 was 77%, an increase of 40% from the previous year. The
value of contracts placed with UK suppliers also increased by 20% from £67 million to
£81 million.275 The most recent steel pipeline was published in May 2021, together with
an updated review of how Government Departments had applied the steel procurement
guidance.276
268   Crown Commercial Service, Procurement Policy Note—Procuring steel in major projects, 30 October 2015
269   Crown Commercial Service, Procurement Policy Note: Procuring Steel in Major Projects—Revised Guidance, 13
      December 2016, page 1
270   Crown Commercial Service, Procurement Policy Note: Procuring Steel in Major Projects—Revised Guidance, 13
      December 2016, page 2
271   Crown Commercial Service, Steel Procurement in Major Projects, 12 December 2016, pp. 11–14
272   Crown Commercial Service, UK Government Steel Pipeline, 12 December 2016
273   Department for Business, Energy and Industrial Strategy, Steel public procurement pipeline 2017, 15 December
      2017
274   Department for Business, Energy and Industrial Strategy, Steel public procurement 2020, 9 October 2020
275   Department for Business, Energy and Industrial Strategy, New data shows proportion of steel procured within
      UK has doubled since last year, 9 October 2020
276   Department for Business, Energy and Industrial Strategy, Steel public procurement 2021, 19 May 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 40 of 79

38     Liberty Steel and the Future of the UK Steel Industry




Impact of public procurement policy

136. We heard that, despite advances made since the publication of the PPN in 2015 and
the steel pipeline, efforts to drive up the public procurement of steel had “failed to have the
impact hoped for.”277 Dr Henrik Adam, Chief Executive Officer of Tata Steel in Europe,
commented that while the range of Government support on procurement offered to date
was helpful, they were “not really game changers,”278 while UK Steel told us they had
“not truly yet addressed the barriers experienced by UK steel companies in attempting to
supply into public projects.”279 UK Steel noted the disparity between the 160,000 tonnes
of steel sourced from UK steel producers as documented in the Government’s compliance
with the steel procurement guidance (PPN 11/16)280 and the 800,000 to 900,000 tonnes of
steel the 2020 steel pipeline281 indicated is used by the Government each year,282 leaving
around 700,000 tonnes of publicly procured steel either unaccounted for or sourced from
outside the UK.

137. Witnesses identified a number of barriers that continue to be experienced by UK steel
producers when supplying into public projects in what UK Steel described as a “business
as usual approach.”283 The complexity of steel supply chains has meant that an open
tender process is rarely used and this lack of transparency often prevents steel companies
from having visibility of supply opportunities and public project owners from knowing
where their steel is supplied from.284 Furthermore, the “informal” approach to steel
procurement has meant that established supply chains are often favoured by contractors,
further reducing opportunities for UK steel producers. We were told that steel companies
are “often unaware of what their products are ultimately used for”285 and that:

            The preference for contracting authorities and tier ones to not directly
            purchase steel acts as a barrier to transparency and opportunities for wider
            social value objectives to be achieved are missed, along with opportunities
            to innovate and reduce costs both at the CAPEX and OPEX stage of a
            project.286

138. This lack of transparency has implications for the application of social and
environmental objectives and we heard broad agreement that these considerations ought
to be taken into account. The Green Alliance told us that a requirement for clean steel in
large infrastructure projects could serve as part of a drive to promote markets for clean
steel and a supportive policy environment for achieving net zero.287 Roy Rickhuss CBE,
General Secretary of Community Union, told us that “contracting authorities should give
proper weighting to social and environmental clauses in the tendering process to support
domestic jobs and industry, just like they do in France and Germany.”288 Gareth Stace of

277   UK Steel (LS0006)
278   Q89
279   UK Steel (LS0006)
280   Department for Business, Energy and Industrial Strategy, Compliance with the steel procurement guidance (PPN
      11/16), 9 October 2020
281   Department for Business, Energy and Industrial Strategy, Steel procurement pipeline 2020, 9 October 2020
282   UK Steel (LS0006)
283   UK Steel (LS0006)
284   UK Steel (LS0006)
285   UK Steel (LS0006)
286   UK Steel (LS0006)
287   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
288   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 41 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry   39




UK Steel emphasised that for taxpayer-funded projects, public bodies should look beyond
the cost of steel to “the value of the whole purchase, where that steel is coming from, those
transport emissions, and even human rights in the country you are buying it from.”289

139. However, while the current steel procurement guidance does contain a list of broader
social criteria to be applied at “key stages of the procurement life-cycle,”290 the fact that an
open tender process is rarely used for the supply of steel into public projects means that,
in the absence of more explicit direction on social and environmental value objectives
from above, sub-contractors are not taking them into account.291 All this would suggest
that much of the guidance contained in the PPN is not being applied by public bodies
sufficiently rigorously and we heard that a “cultural shift”292 on this issue was now needed,
with one witness telling us “we really, really need to see some action now. We cannot have
the warm words that we have had in the past.”293

140. We wrote to the Secretary of State in July asking what action was being taken by
his Department to address the barriers faced by UK steel producers in attempting to
supply into public projects. He pointed to the work of the Steel Procurement Taskforce
in attempting to “promote the unique selling points of UK steel and explore how best to
support and position the industry for success in forthcoming major public contracts.”294
The Secretary of State also noted that:

            It is important that suppliers continue to be treated equally and fairly
            through open competition. Keeping our procurement market open to
            international competition ensures better value for money for the taxpayer
            and facilitates UK suppliers being offered reciprocal rights to participate in
            procurements abroad.295

However, it is clear from much of the evidence we received that a significant part of the
problem lies with how the current guidance is being applied as the result of what is often
an opaque and informal approach to procurement, aside from insufficient aid or support
from the UK Government in promoting UK industry.

141. Despite advances made since the publication of the Procurement Policy Note in
2015, UK steel producers are still encountering challenges when competing for and
securing public contracts. Much of this is due to an opaque and informal approach
taken to steel procurement by contracting authorities and action is needed from
the Government to make this process more transparent. Furthermore, a lack of
transparency in steel supply chains together with an absence of explicit guidance
on how social and environmental considerations should be applied has meant that
broader objectives are being missed. Public procurement of steel has the potential to
deliver wider benefits and further action is needed to ensure that the full value offered
by UK steel producers is taken into account when supplying steel into public projects.

142. To ensure full transparency, the Procurement Policy Note (PPN) on steel procurement
in major projects should be updated to include a requirement for contracting authorities
289   Q54
290   Crown Commercial Service, Steel Procurement in Major Projects, 12 December 2016, pp. 1, 11–14
291   UK Steel (LS0006)
292   Q54
293   Q55
294   Correspondence to the Business, Energy and Industrial Strategy Committee, 10 August 2021
295   Correspondence to the Business, Energy and Industrial Strategy Committee, 10 August 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 42 of 79

40     Liberty Steel and the Future of the UK Steel Industry




to provide supply chain plans and publicise supply opportunities for UK steel producers.
The Government should also publish updated guidance on how social and environmental
considerations should be made in relation to steel purchases to ensure these are taken
into account by contracting authorities.

Data on public steel requirements

143. Part of the challenge with transparency in steel supply chains stems from incomplete
data collected by public bodies. Gareth Stace of UK Steel told us that “there is still lots
of steel where Government Departments cannot tell you where that steel came from,”
expressing concern that “surely Government Departments should know what they are
spending their money on?”296 The most recent publication of compliance with the steel
procurement guidance noted that “returns [on steel procured for major infrastructure
projects] are self-declared and BEIS is reliant on Government Departments and their Arm’s
Length Bodies and contractors for the quality and completeness of the data provided.”297
It goes on to comment that “there are challenges in collecting this data” and cites gaps in
the data provided by Government Departments—of the 91 projects which reported, 90
detailed tonnage requirements, 87 specified the value of their steel requirements and only
69 specified both contract value and origin details.298

144. There is also an absence of data relating to steel contracts awarded by the Contracts
for Difference scheme or Highways England.299 As a result, insights are “based on the
limited set of returns provided by Government Departments rather than all Government
projects.”300 Contracts for Difference is the Government’s main mechanism for supporting
low-carbon electricity generation by awarding developers of low-carbon electricity-
generating projects the difference between the strike price and the reference price for
electricity produced over the course of the contract.301 The scheme has allocated funding
to major steel-using projects, including offshore windfarms and energy plants302 and yet
these do not currently fall within the scope of the Procurement Policy Note. We heard
concern that projects funded by the Contracts for Difference scheme did not fall within
the scope of the PPN and that data on the value and origin of steel requirements for these
projects had not been reported, with Gareth Stace pointing out that the scheme involved
public money.303 The same applies with respect to data collected on steel contracts awarded
by Highways England. This is particularly concerning given that Highways England is a
major purchaser of steel, with at least 30,000 tonnes of steel required over the next ten
years according to the Government’s steel pipeline.304

145. In March this year, alongside the re-established UK Steel Council, the Government
established the Steel Procurement Taskforce, co-chaired by Lord Grimstone and Gareth
Stace of UK Steel, to explore what Government and industry can do to address challenges

296   Q54
297   Department for Business, Energy and Industrial Strategy, Steel public procurement 2021, 19 May 2021, page 4
298   Department for Business, Energy and Industrial Strategy, Steel public procurement 2021, 19 May 2021, page 4
299   Department for Business, Energy and Industrial Strategy, Steel public procurement 2021, 19 May 2021, page 4
300   Department for Business, Energy and Industrial Strategy, Steel public procurement 2021, 19 May 2021, page 4
301   Contracts for Difference Allocation Round 4 (CfD AR4) portal, Frequently Asked Questions [Accessed 9
      September 2021]
302   Department for Business, Energy and Industrial Strategy, Contracts for Difference Second Allocation Round
      Results, 11 September 2017
303   Q54
304   Department for Business, Energy and Industrial Strategy, Steel procurement pipeline 2021, 19 May 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 43 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry      41




the sector faces in competing for and securing public contracts.305 Its aims include
“improving data reporting […] with the aim to deliver more robust data in the coming
years.”306 When asked about the issue of incomplete data on steel procured for public
projects, the Secretary of State told us that “we have to measure and know how much
[steel is procured] and where it is coming from” and that the Government had “set up a
taskforce whose job it is to look at these questions, which […] will report in a few months,
certainly by the end of the year.”307

146. High-quality data will be essential for monitoring and improving compliance
with steel procurement policy. However, this data is currently incomplete with only
partial data being reported by Government Departments and Arm’s Length Bodies.
We welcome the work of the Steel Procurement Taskforce in working to improve the
quality of this data. However, at the very least, all Government projects should be fully
reporting on the value and origin of their steel requirements.

147. A requirement should be set for all Government projects, including steel contracts
awarded by the Contracts for Difference scheme and Highways England, to fully report
on the value and origin of their steel requirements.

Minimum steel content targets

148. In our first session with the Secretary of State, we were told that “there is clearly
a role for the UK Government as procurers of steel to help the industry”308 and that a
departure from EU rules on public procurement was viewed as an opportunity to support
the sector.309 Gareth Stace of UK Steel described the public procurement of UK-made steel
as a “win-win” for the Government, asking “why would you spend taxpayers’ money on
steel that you purchase from abroad when you could purchase it in the UK and keep that
pound of taxpayers’ money in the UK?”310

149. In April last year a contract for 9,000 tonnes of steel bridgeworks for High Speed
2 was awarded to French supplier Eiffage-Kier-Ferrovial-Bam.311 Both British Steel and
Liberty Steel UK have since contested claims that the weathering steel plate required could
not be procured domestically to the required size.312 We were told that UK steel producers
“do not even get a look in” as contractors often favour established suppliers313 and that
this was sometimes due to an assumption that UK suppliers would not have the capability
to meet contractors’ requirements:

            We have also had lots of examples of where [contractors] say, “we did not
            purchase it from the UK because the UK does not have that capability,” and
            either we do or we could have had that capability and capacity to produce



305   Department for Business, Energy and Industrial Strategy, Lord Grimstone co-chairs inaugural Steel Procurement
      Taskforce meeting, 12 March 2021
306   Department for Business, Energy and Industrial Strategy, Steel public procurement 2021, 19 May 2021, page 4
307   Q536
308   Q14
309   Q19
310   Q53
311   Eiffage, Eiffage and Kier receive Notice to Proceed for HS2, 15 April 2020
312   Financial Times, UK steel companies fear missing out on HS2 contracts, 1 October 2020
313   Q54




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 44 of 79

42     Liberty Steel and the Future of the UK Steel Industry




            that particular type of steel, if only we had known about it, because it would
            be many years both in terms of the investment and being able to supply that
            product to the market.314

150. UK Steel suggested that setting minimum UK steel content targets for major public
projects could serve as an effective measure to improve opportunities for UK steel
producers.315 This would not necessarily be a legally binding target but rather a statement
of intent with which to drive improvements in public procurement.316 The establishment
of the Steel Procurement Taskforce signals both a recognition that more work needs to
be done in this area and the benefits of doing so. It will be for the Taskforce to provide
detailed recommendations on how the procurement of UK-made steel should be improved.
However, the Taskforce is not due to report until later in the year317 and measures could
be taken now to support the steel sector. A sense of urgency was conveyed to us by Roy
Rickhuss CBE, who referenced the Government’s £600 billion infrastructure programme318
and the need for “decisive, game-changing interventions in this area if [the steel sector]
are not going to miss out.”319

151. Decisive action should be taken to ensure that UK steel producers do not miss
out on the Government’s ambitious infrastructure programme. Setting minimum UK
steel content targets for major public projects would serve as an important first step
to improving opportunities for UK steel producers. The Government should introduce
minimum UK steel content targets for major public projects, starting with High Speed 2.

Trade
152. Steel is an intensively traded product. Prior to the COVID-19 pandemic, an
estimated 25–30% of steel products produced globally each year travelled across national
borders.320 However, it is widely recognised that global steel markets are distorted by
state interventions—steel industries are often heavily subsidised by national governments
resulting in production levels far exceeding what the market would otherwise dictate.321
Subsidies can include:322

      •     Cash grants, awards and cost refunds

      •     Preferential loans, debt instruments placement, equity infusions and conversions

      •     Guarantees and other transfers of liabilities

      •     Debt forgiveness or restructuring

      •     Tax benefits


314   Q54
315   UK Steel (LS0006)
316   UK Steel, COVID-19—restart and recovery, 14 May 2020, page 11
317   Correspondence to the Business, Energy and Industrial Strategy Committee, 10 August 2021
318   Infrastructure and Projects Authority and HM Treasury, National Infrastructure and Construction Pipeline 2018,
      26 November 2018
319   Q55
320   World Steel Association, 2021 World Steel in Figures, 3 June 2021, page 24
321   House of Commons Library, UK Steel Industry: Statistics and policy, 18 June 2021, page 27
322   OECD, Government support to the steel sector: instruments, information sources, and existing guidelines,
      September 2017, pp. 6–7




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 45 of 79

                                                     Liberty Steel and the Future of the UK Steel Industry   43




      •     Government approach to mergers and acquisitions

153. Governments participating in the OECD Steel Committee “consider excess capacity
as being one of the main challenges facing the global steel sector today”323 and according
to the Global Forum on Steel Excess Capacity:

            Excess steelmaking capacity creates significant difficulties for steel producers
            in advanced, emerging and developing economies alike. It depresses
            prices, undermines profitability, generates damaging trade distortions,
            jeopardizes the very existence of companies and branches across the world,
            creates regional imbalances, undermines the fight against environmental
            challenges and dangerously destabilizes world trading relations.324

154. The problem has the potential to be further exacerbated by restrictions imposed in
response to the COVID-19 pandemic with concerns around possible stockpiling of steel,
particularly by China, and the potential for markets to be flooded with low or below-cost
products once restrictions are eased. The pandemic has led to a worldwide reduction in
steel production but there have been significant differences between regions. While the
EU saw a 17.9% fall in production in the first half of 2020 (compared with the first half of
2019) and North America a 17.6% fall, Asia saw a much smaller fall of 2.3%.325 Production
in China actually increased by 2.2% with most steel-using sectors returning to pre-
COVID-19 production levels by the end of April 2020.326

Trade remedies

155. Countries are able to use trade remedies to protect their domestic industries from a
flood of global oversupply. In March 2018, the US imposed a 25% tariff on steel imports
to protect against “unfair trade.”327 The EU reacted with a tariff on products bound for
the EU in late June 2018 and a provisional EU safeguard on steel imports followed in July
2018.328 In February 2019, the EU implemented a final safeguard measure operating as a
Tariff Rate Quota (TRQ) of 100% based on import levels in 2015–2017 with a dissuasive
25% tariff above that. Further rules regarding quarterly quotas for certain products and
countries were included and these are amended periodically as the safeguard is reviewed.329
Nineteen product categories covered by the EU steel safeguard measure were identified
by the Secretary of State for International Trade where UK production exists, all of which
were transitioned in order to provide continuity to UK producers.330 The Trade Remedies
Investigations Directorate (TRID) (the predecessor to the Trade Remedies Authority)
subsequently conducted a transition review of safeguard measures across the nineteen
steel product categories to ensure these measures fully reflected the UK market situation.331

156. We heard that these safeguard measures continue to be necessary due to the vulnerable
position of the UK market. The EU recently announced that it would extend its own steel

323   OECD, Steelmaking capacity, June 2020
324   Global Forum on Steel Excess Capacity [Accessed 8 August 2021]
325   OECD, Steel Market Developments, Q4 2020, September 2020, page 22
326   OECD, Steel Market Developments, Q4 2020, September 2020, page 23
327   BBC News, Trump tariffs: US President imposes levy on steel and aluminium, 8 March 2018
328   Eurofer, EU steel safeguard
329   Eurofer, EU steel safeguard
330   UK Government, Trade remedies transition policy, 16 December 2020
331   UK Government, Trade remedies transition policy, 16 December 2020




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 46 of 79

44     Liberty Steel and the Future of the UK Steel Industry




safeguards for at least another three years332 and we heard that, if the EU continues to
apply their own safeguards, irrespective of whether they are justified, the UK will need to
have a similar policy otherwise exporters to the EU will divert their products to the UK
market.333 UK Steel claimed that “the EU and US are almost certain to continue to place
controls on UK steel exports for the foreseeable future” and that if the UK were to drop
its own safeguards then, as one of very few exposed markets in the world, the likelihood
of trade divergence towards the UK market would be “extremely high” and “huge levels of
injury [to the UK steel sector] would be caused.”334

157. UK Steel highlighted the particular vulnerability of the UK market to the problem of
global overcapacity, as just 2% of excess production would be enough to meet the entirety
of UK demand.335 They noted that current safeguards “provide for a careful balance of
interests between steel producers and consumers” as they are designed only to restrict
supply when imports surge above levels that would be damaging to the UK sector.336 UK
Steel further noted that Tariff Rate Quotas currently allow for 111% of historical volumes
of steel to enter the UK tariff-free at a time when overall demand, as a result of measures
imposed in response to COVID-19, is expected to be at 10% below historical levels.
Consequently, there is sufficient additional capacity within the UK steel sector to meet
demand.337

158. Given that global steel markets continue to be heavily distorted by state
subsidisation and that the EU and the US continue to apply tariffs on imported steel,
the UK requires a response from Government regarding potential trade divergence
towards UK markets and significant injury to UK steel producers.

Recommendation of the Trade Remedies Authority

159. The Trade Remedies Investigations Directorate (the predecessor to the Trade
Remedies Authority) announced its Statement of Intended Preliminary Decision on 19
May. It recommended the revocation of measures on nine categories of steel imports on the
basis that, in six of the nine revoked categories, there was no increase in imports to the UK
between 2013–2017 (meaning that the measures could not be extended) and, for the other
three revoked categories, that the import increase was not significant enough, was not
likely to cause injury, or that extending the measure did not meet the Economic Interest
Test.338 For the ten product categories in which TRID recommended that measures be
extended, TRID determined that Tariff Rate Quotas would remain the most appropriate
form of measure to be applied, with imports outside the quotas facing a tariff of 25%.339

160. The preliminary recommendation was met with concern by industry voices. British
Steel remarked that, if accepted, the recommendation would be a “major setback for UK
manufacturers” while UK Steel claimed that “the UK will become a magnet for huge
volumes of steel imports” and that “it is beyond worrying to consider the damage this
332   European Commission, EU prolongs steel safeguard for three years, 25 June 2021
333   Metals Consulting International Limited (LS0002)
334   UK Steel (LS0006)
335   UK Steel (LS0006)
336   UK Steel (LS0006)
337   UK Steel (LS0006)
338   Trade Remedies Investigations Directorate, Steel safeguard measures review – draft recommendation published,
      19 May 2021
339   Trade Remedies Investigations Directorate, Steel safeguard measures review – draft recommendation published,
      19 May 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 47 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry         45




could do to the UK steel sector and its long-term viability,” adding that the removal of
protections would have an adverse impact on the manufacture of steel sections at Teesside,
tubes in Hartlepool and wire-rod made in Cardiff, Scunthorpe and Rotherham.340 The
Department for International Trade responded to these concerns by reiterating that the
Government “supports free trade for British steel manufacturers” and that “the Secretary
of State has limited powers in relation to the TRA, and only has the choice under law to
accept the TRA’s recommendation, or see safeguard measures expire at their end date.”341

161. We wrote to the Secretaries of State for Business, Energy and Industrial Strategy and
International Trade on 25 May seeking clarification on whether recommendations from
TRA were binding on the Government or whether Ministers would intervene in cases that
are not in the United Kingdom’s interest.342 The Secretary of State for International Trade
responded:

            My powers, as established in 2018 under the Taxation (Cross-border Trade)
            Act, are limited. As the Trade Secretary, I can only accept or reject the TRA
            recommendation as a whole, but I cannot modify or partially accept it. I
            cannot extend this or any measure if the TRA does not recommend it. This
            is currently a matter for the TRA. However, the world has changed since
            2018 when these powers were put in place. We will not hesitate to defend
            UK industry from unfair trading practices. As previously stated, we are
            exploring what else we might need in our toolkit to defend British industry
            from unfair trading practices, dumping, subsidies and unforeseen surges
            in imports as well as market distortions while continuing to champion free
            and fair trade in line with our international obligations.343

162. In June, the Secretaries of State for Business, Energy and Industrial Strategy and
International Trade held a meeting with UK steel producers in which the industry
argued that the TRA’s recommendations were flawed, based on partial data and showed
a “complete disregard for the practical considerations” of the sector.344 They added that
the TRA did not take into account that the EU and the US were keeping in place their
own trade protections, leaving Britain exposed to steel imports. Gareth Stace of UK Steel
told us that the Trade Remedies Authority had made its decision “behind closed doors”
without a two-way dialogue with industry.345 As a consequence, it had “fundamentally”
misunderstood that sites produce a number of products and that these “all hang on each
other,” meaning that dropping safeguards on some products would affect those products
for which the safeguards had been retained.346

163. The industry suggested tweaks to legislation which could be made quickly, allowing
six of the nine safeguards to be kept while remaining compliant with World Trade
Organisation rules. However, the Department for International Trade expressed concerns
over whether this would be compliant with the UK’s international obligations:


340   Financial Times, Steel industry hits out at UK plans to remove tariff protections, 20 May 2021
341   Financial Times, Steel industry hits out at UK plans to remove tariff protections, 20 May 2021
342   Correspondence from the Business, Energy and Industrial Strategy Committee, 25 May 2021
343   Correspondence from the Secretary of State for Business, Energy and Industrial Strategy and the Secretary of
      State for International Trade and President of the Board of Trade, 11 June 2021
344   The Telegraph, Cabinet split over bid to protect British steel makers from imports, 27 June 2021
345   Q46
346   Q46




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 48 of 79

46     Liberty Steel and the Future of the UK Steel Industry




            Any forcing through of legislation in order to disregard the TRA
            recommendation, which is based on evidence provided by interested parties
            including importers, domestic producers and overseas exporters, would
            breach WTO rules, leaving us open to challenge and retaliation.347

164. Despite these concerns, on 30 June it was announced that the Government would
introduce a public notice to launch a temporary extension on five of the nineteen steel
products for one year, with imports outside the quotas facing a tariff of 25%.348 This
extension would aim to give industry more time to appeal the TRA decision and include
an assessment of “the risk of injury arising from the EU safeguard which was published
after the TRA made their decision.”349 Furthermore, the UK Government would review
the Trade Remedies framework “as an urgent priority […] to ensure it is up-to-date,
champions WTO rules and is fit for purpose in the post-COVID world.”350

165. We share the concerns expressed to us that the Trade Remedies Authority’s
recommendation to revoke safeguards on nine categories of steel imports was not
based on an open dialogue with industry and had therefore missed the wider impact
its decision would have had on UK steel producers. These concerns also appear to be
shared by the UK Government as demonstrated by its decision to overrule the Trade
Remedies Authority’s recommendation and grant industry more time to appeal its
decision. A two-way dialogue with industry must inform future recommendations by
the Trade Remedies Authority and we welcome the opportunity given to both parties
to do so.

Decarbonisation
166. The UK Government has committed to bringing all greenhouse gas emissions to net
zero by 2050351 and to cut emissions by 78% by 2035.352 Decarbonising the steel industry
will be an important part of meeting these targets as the sector is a significant contributor
of greenhouse gas emissions, responsible for 13.9% of greenhouse gas emissions from
manufacturing and 2.3% of the total greenhouse gas emissions from all industry.353 In
addition to the Government’s overarching net zero target the Climate Change Committee
has recommended that ore-based steelmaking (‘primary’ steelmaking using blast furnaces)
reach near-zero emissions by 2035354 and the Government is currently considering the
implications of this recommendation in collaboration with the UK Steel Council.355

167. In March this year, the Government published its Industrial Decarbonisation
Strategy which aimed to “show how the UK can have a thriving industrial sector aligned
with the net zero target, without pushing emissions and business abroad.”356 The strategy

347   The Telegraph, Cabinet split over bid to protect British steel makers from imports, 27 June 2021
348   Reuters, UK to extend quotas and tariffs on most steel imports, 27 June 2021
349   Secretary of State for International Trade, Written statement UIN HCWS136, 30 June 2021
350   Secretary of State for International Trade, Written statement UIN HCWS136, 30 June 2021
351   Department for Business, Energy and Industrial Strategy, UK becomes first major economy to pass net zero
      emissions law, 27 June 2019
352   Department for Business, Energy and Industrial Strategy, UK enshrines new target in law to slash emissions by
      78% by 2035, 20 April 2021
353   ONS, Atmospheric emissions: greenhouse gases by industry and gas, 3 December 2020 (10,412.6 thousand tonnes
      carbon dioxide equivalent out of 75,129.8 [manufacturing total] and 451,464.2 [all industry total])
354   Climate Change Committee, Policies for the Sixth Carbon Budget and Net Zero, 9 December 2020, page 111
355   HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 19
356   HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 8




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 49 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry   47




notes that there are limited windows of opportunity for equipment to be replaced with
low carbon alternatives between now and 2050 and that shutting down a plant to replace
or retrofit equipment is expensive and disruptive, with equipment typically only replaced
or upgraded at the end of its lifetime.357 The Government has committed to engage with
industry to understand the feasibility of ensuring that replacement equipment is able
to be easily retrofitted with carbon capture and storage or hydrogen, and the Industrial
Energy Transformation Fund will support this transition through the provision of grant
funding towards the commercial demonstration of fuel switching technologies.358 The
Government is also considering the option of making it a mandatory requirement for
upgraded equipment to be low-carbon ready later in the 2020s, as recommended by the
Climate Change Committee.359

168. Though both of the principal methods for producing steel require large amounts
of energy, the blast furnace route produces considerably more carbon emissions due to
the use of coking coal as a reducing agent to extract iron from iron oxide ores.360 The
Government estimates that the primary steelmaking sites at Port Talbot and Scunthorpe
are responsible for 95% of all iron and steel industry emissions and consequently that
“decarbonising these two blast furnace sites and the wider steel sector will be essential
to the decarbonisation story of UK industry.”361 When giving evidence in May 2021, in
reference to the Climate Change Committee’s recommendation of cutting emissions by
78% by 2035, the Secretary of State made the statement that:

            2035 is in 14 years’ time and so, over those 14 years, I would expect the basic
            oxygen, blast furnace process to be phased out, but that is not something that
            is going to happen next week or next month. […] That is why I resuscitated
            the Steel Council, why we have discussions and are producing papers, and
            why we have the Industrial Decarbonisation Strategy. We are very clear
            about the long-term goal, and that is something that is going to happen
            over time.362

When pressed on whether the long-term goal really was to phase out basic oxygen
steelmaking in this country, the Secretary of State remarked “it will be phased out to the
point that we will have an 80% reduction” and that basic oxygen steelmaking “is a carbon-
emitting one, so the logic of decarbonisation is that we are going to try to come up with
steel production that is less carbon-emitting.”363 He went on to clarify that ‘net zero’ does
not mean the same as ‘absolute zero’ and that “we are not […] going to slam the door shut
on [basic oxygen] manufacture of steel. We are saying that we want to move towards a
cleaner and less-carbon-emitting process.”364

169. We heard that while decarbonising the nation’s blast furnaces will be challenging, the
UK ought to retain its primary steelmaking capability rather than move over exclusively
to electric arc furnaces. Edwin Basson, Director General of the World Steel Association,
noted that decarbonisation does “not per se mean going to electric arc furnaces. It also

357   HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 55
358   HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 55
359   HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 55
360   House of Commons Library, UK Steel Industry: Statistics and policy, 18 June 2021, page 32
361   HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 53
362   Q25
363   Q26
364   Q27




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 50 of 79

48     Liberty Steel and the Future of the UK Steel Industry




means what you do with your blast furnaces and making those efficient.”365 Roy Rickhuss
CBE, General Secretary of Community Union, stated that he did “not believe personally
that a transition to totally electric arc furnaces is the right answer” given that they cannot
produce the qualities and grades of steel that blast furnaces are capable of producing.366

170. Roz Bulleid, Head of Policy, the Green Alliance, said that “there is an argument for
the UK continuing to produce primary steel and doing it in a clean way, rather than just
exporting that and […] potentially do it in a higher-carbon way.”367 This point was also
made to us by UK Steel, who told us that “the UK must aim to tackle not just emissions
produced within our own borders but those produced elsewhere and imported.”368 To do
otherwise “would run the risk of decarbonising through deindustrialisation instead of
through investment and innovation” and “would mean a reduction in industrial capability,
jobs, and economic activity instead of the creation of a new green industry and the myriad
of benefits that would flow from that.”369

171. However, while we identified broad agreement that the UK’s primary steelmaking
capability should be retained, the question of which technology to use to reach the 2035
target was still “very much an unknown.”370 Gareth Stace of UK Steel commented that
while some of the blast furnace capacity could be moved to electric arc furnaces—a
technology which has the benefit of being “tried and tested” and “probably cheaper than
other technologies”—he was doubtful that on their own they would be sufficient to achieve
the net zero target and that “there would be a need for carbon capture and storage and
hydrogen.”371 However, these technologies remain largely untested at scale in the steel
industry and “zero-carbon hydrogen is a long way off.”372 Roz Bulleid, told us that “it is
a little unclear which [technology] is going to be the best route” and that “there is a real
urgency now that we examine in detail the cases for all of these technologies to make
sure that we have a good suite of options available.”373 Of all the options, she described
hydrogen as “quite promising” and was keen to see it trialled but called for innovation and
research funding to be made available for other routes too.374

172. Each plant presents unique challenges and solutions will need to be tailored to the
specific circumstances of individual sites—while the Scunthorpe site has the potential to
utilise carbon capture and storage (CCS) due to its proximity to the Endurance aquifer,375
a possibility raised by the Secretary of State at our first evidence session,376 CCS at the
Port Talbot site presents a more difficult challenge. In their written submission, IPPR
North, a think tank for the North of England noted that the absence of suitable sites to
store captured carbon near South Wales will likely mean transporting captured carbon
to storage hubs in the North West of England, assuming CCS is the preferred solution



365   Q45
366   Q44
367   Q47
368   UK Steel (LS0006)
369   UK Steel (LS0006)
370   Q36
371   Q36
372   Q36
373   Q47
374   Q47
375   Equinor, New partnership to develop offshore CO2 transport and storage in the UK North Sea, 26 October 2020
376   Q28




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 51 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry        49




for the site. The site is also likely to be further from a hydrogen network. Given this,
while decarbonising the steelworks at Port Talbot is possible, we were told “it comes with
additional challenges.”377

173. Regardless of the route chosen, many witnesses identified a real urgency for decisions
to be made now. Chris McDonald, Chief Executive of the Materials Processing Institute,
told us that these decisions will need to be taken imminently as all of the blast furnaces
in the UK will soon need to be replaced (one of the two furnaces at Port Talbot will need
to be replaced by the end of the 2020s and the other by the end of the 2030s).378 As a blast
furnace investment is “typically a 20–25-year investment” and are both carbon emitting
and low productivity he asked “why would anyone invest in that technology again?”379 In
their written evidence, the Materials Processing Institute pointed to the need for decisions
on infrastructure and wider system changes to be made in order to enable the industry to
transition:

            Routes to decarbonisation involve significant capital expenditure and
            technology choices […]. Given the right policy framework, the industry
            itself can be relied upon to make the necessary steel investment, but these
            sit in a wider industrial context. For instance, moving from coking coal to
            hydrogen will require national investment in the generation, transportation
            and storage of green hydrogen. Likewise a steel producer can make their
            facility ready for carbon capture and storage, but cannot create the whole
            CCS network.380

174. Despite the need for decisions on infrastructure and wider system changes it is
notable that the Industrial Decarbonisation Strategy does not back any particular route
with an admission that both low carbon hydrogen and Carbon Capture, Utilisation and
Storage (CCUS) are “at early stages of development.”381 The Government’s Net Zero
Strategy published in October this year similarly notes that hydrogen-based steelmaking,
CCUS and electrification are all being considered as potential routes to decarbonisation
without committing to any particular route.382 We were cautioned on what the Materials
Processing Institute referred to as the “moral hazard” of funnelling industry towards a
particular route that later proves to be suboptimal, ossifying steel producers around “older,
less productive and inefficient technology where steel producers would have less incentive
to invest in modern technologies which could be both more green, more productive and
more internationally competitive.”383 However, it is clear from the evidence we received
that industry requires certainty from Government on infrastructure and wider system
changes before it is able to invest and commit to any particular technological pathway.

175. There is a clear lack of direction with respect to the future of the nation’s blast
furnaces both within the Government and in industry. A range of options exist for the
decarbonisation of primary steelmaking, including carbon capture and storage (CCS),
hydrogen, or a mixture of technologies running in parallel. It will ultimately be for the

377   IPPR North (LS0005)
378   Q50
379   Q50
380   Materials Processing Institute (LS0009)
381   HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 29
382   Department for Business, Energy and Industrial Strategy, Net Zero Strategy: Build Back Greener, 19 October
      2021, page 129
383   HM Government, Industrial Decarbonisation Strategy, 17 March 2021, page 29




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 52 of 79

50     Liberty Steel and the Future of the UK Steel Industry




sector and each individual business, with its own unique sites and products, to work
out which technology is optimal for them. However, to enable these decisions industry
requires certainty from Government on infrastructure and wider system changes.

176. We found broad agreement that the UK should retain a primary steelmaking
capacity rather than push its emissions and business abroad, a point recognised in the
Government’s own Industrial Decarbonisation Strategy. However, if the Government
is serious about its emissions targets and given that the nation’s blast furnaces will
soon need to be replaced, if the UK is to retain its primary steelmaking capacity then
key decisions and certainty are needed imminently. The Government’s Industrial
Decarbonisation strategy has so far failed to provide this certainty and the Government
must step up its efforts to provide industry with direction and a supportive policy
environment to enable it to transition to a low carbon future.

Potential of hydrogen direct reduced iron

177. Despite a lack of overarching direction around technological pathways we heard that,
of the two primary pathways identified in the Industrial Decarbonisation Strategy—one
based on the rollout of CCS infrastructure and one based on the use of hydrogen direct
reduced iron (DRI)—the second held significant promise as a potential solution for the
UK steel industry.

178. Blast furnaces produce substantial amounts of carbon dioxide due to the reduction of
solid iron ore into liquid pig iron using carbon (in the form of coke).384 However, hydrogen
can be used in place of carbon in this process to ‘directly reduce’ the iron, resulting in a
solid iron product (sometimes referred to as ‘sponge iron’) which can then be melted in an
electric arc furnace (EAF) to produce steel. By substituting the carbon in this process, the
hydrogen direct reduced iron pathway can lower carbon dioxide emissions by as much as
89–99%.385

179. The Materials Processing Institute were particularly enthusiastic about this route,
commenting that:

            Delivery of a DRI-hydrogen/EAF-based solution for steel decarbonisation
            in Britain would take a decade and meet all milestones of the Paris climate
            change agreement whilst allowing a smooth and just transition for the
            workforce.386

We were told by the Materials Processing Institute that “hydrogen DRI technology seems
the most adapted solution for the UK industry” as it is “a proven methodology with a very
limited technological risk” which will have “an immediate impact on CO2 emissions.”387
Furthermore, the technology would preserve the full range of steel produced; compensate
for the decrease in productivity of the coke ovens at Port Talbot and Scunthorpe (by
adding DRI to the blast furnaces); and enable a switch to hydrogen when the technology
is proven.388


384   Encyclopedia Britannica, Blast furnace [Accessed 14 September 2021]
385   Fabrice Patisson and Olivier Mirgaux, Hydrogen Ironmaking: How It Works, 9 July 2020
386   Materials Processing Institute (LS0009)
387   Materials Processing Institute, Decarbonisation of the Steel Industry in the UK, 18 March 2021, page 10
388   Materials Processing Institute, Decarbonisation of the Steel Industry in the UK, 18 March 2021, page 10




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 53 of 79

                                                     Liberty Steel and the Future of the UK Steel Industry   51




180. In the context of current uncertainties around technological pathways, the DRI-
hydrogen route has the added benefit of not requiring an immediate or irreversible
decision with respect to the blast furnaces as it could be developed in tranches in parallel
with existing, proven technologies.389 IPPR North suggested that additional electric arc
furnace capacity could be added to the Scunthorpe site this decade while it experiments
with the use of hydrogen inputted into its blast furnace. By the early-2030s it could
increasingly use hydrogen direct reduced iron in combination with electric arc furnaces
and by the mid-2030s, blast furnace production could largely be replaced by the hydrogen-
electric arc furnace method.390

181. Roz Bulleid of the Green Alliance raised the prospect of a “hybrid transition” in which
two technologies could be run alongside each other for a time rather than a one-off switch
in technology, including a combination of hydrogen and carbon capture391 and that “there
is a huge amount of compatibility between the electric arc furnace recycling route and
hydrogen production of steel. The hydrogen could be used to increase the range of products
that recycling enables us to make.”392 We were told that the development of this process
would permit existing blast furnace operations to continue with reduced emissions and
that the capital expenditure, disruption to operations and loss of employment would be
lower than that of a complete switch to electric steelmaking.393

182. While the implications for the energy system would need to be considered, pursuing
this route would create more jobs in the production and supply of hydrogen fuels394 and
would be well-suited to a fair and just transition for steel employees and communities, as
the transition could be gradual, spanning between now and 2035 (when the technology
could be available) or later depending on the lifespan of the blast furnaces.395 The
Materials Processing Institute highlighted the importance of this aspect, commenting
that “the absence of redundancies during the transition is a condition of the support by
the stakeholders without which the changes would have a high probability to fail.”396

183. As with other routes however, hydrogen-based steel production remains untested
at scale in this country, despite already being underway in Germany and Sweden with
upcoming projects planned for Austria, France and Italy.397 The Green Alliance told us
that “without action, the UK will not be able to make an informed decision on the best
route to steel decarbonisation and risks being left behind”.398 A trial of this technology
could deliver a range of benefits to the UK, including testing production; creating initial
capability; developing world-leading expertise; and generating a market for an emerging
low-carbon hydrogen supply.399 Metals Consulting International argued that the steel
industry could be used as a test for the real-world application of large-scale hydrogen
production using renewable energy.400 A pilot located in a strategically important location
in the UK could then be ramped up, with the trial delivered either through a competitive
389   Materials Processing Institute (LS0009)
390   IPPR North (LS0005)
391   Q48
392   Q44
393   Metals Consulting International Limited UK (LS0002)
394   IPPR North (LS0005)
395   Materials Processing Institute (LS0009)
396   Materials Processing Institute (LS0009)
397   Bellona, Hydrogen in steel production: what is happening in Europe, 26 May 2021
398   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
399   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
400   Metals Consulting International Limited UK (LS0002)




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 54 of 79

52     Liberty Steel and the Future of the UK Steel Industry




tender with private funding backed by initial funds from the Government or backed
entirely by the Government.401 The Green Alliance have estimated that a new at-scale
DRI plant could cost around £500 million but an initial, small-scale, proof-of-concept
pilot would cost much less than this.402 The Materials Processing Institute noted that
this technology “could be of interest for the whole of the industry including the current
EAF based producers” but that most of these producers are too small not only to cover
the CAPEX requirement but also to justify investment in a large facility, noting that the
hydrogen-based HBI steel plant opened by Voestalpine in Texas had a total cost of $1.1
billion.403

184. The Government’s Hydrogen Strategy, published on 17 August this year, notes that
electric arc furnaces coupled with hydrogen direct reduced iron is being considered as
one of the main options for decarbonising steel404 but otherwise makes brief mention of
steel and no concrete action is specified for driving this development. The “key actions”
outlined in the strategy’s 2020s roadmap does not list any action specifically relating to
steel prior to the mid-2030s, when the steel industry is mentioned as a potential end-user.405
When asked whether the Government would consider a trial of hydrogen-based steel
production in this country, the Secretary of State claimed that the Government remained
“absolutely open to investing in hydrogen, or seeing hydrogen invested in […] particularly
in the steel industry” but did not speak specifically on any plans for a trial.406

185. We identified enthusiasm from many witnesses for the use of hydrogen direct
reduced iron as a technology well-suited to decarbonising the UK steel industry.
However, as with other potential solutions, it is a technology that remains untested
at scale. A pilot of hydrogen-based steel production in the UK would help to inform
future decisions on decarbonisation; create initial capability; develop UK-based
expertise; and facilitate a switch to hydrogen once the technology is proven.

186. The Government should commit to a pilot of hydrogen-based steel production in
the UK as part of its industrial decarbonisation strategy. Funding for the project should
be sought in partnership with interested steel businesses or backed in part by the Clean
Steel Fund. The Government should further consult on the most appropriate location
for the pilot which would deliver the widest benefit for industry as a whole.

Retention and recycling of scrap steel

187. As an infinitely recyclable material and the most recycled material in the world, steel
has been called “the most sustainable material of the 21st century.”407 While a basic oxygen
furnace can be charged with as much as 30% scrap steel, an electric furnace can be charged
with 100% scrap and the World Steel Association have estimated that recycling just one
tonne of scrap saves approximately 1.5 tonnes of carbon dioxide, 1.4 tonnes of iron ore,




401   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
402   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
403   Materials Processing Institute, Decarbonisation of the Steel Industry in the UK, 18 March 2021, page 10
404   Department for Business, Energy and Industrial Strategy, UK Hydrogen Strategy, 17 August 2021, page 54
405   Department for Business, Energy and Industrial Strategy, UK Hydrogen Strategy, 17 August 2021, page 24
406   Q570
407   World Steel Association, Steel recycling [Accessed 8 August 2021]




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 55 of 79

                                                     Liberty Steel and the Future of the UK Steel Industry   53




740 kg of coal and 120 kg of limestone.408 These energy and raw materials savings mean
that the recycling of scrap can play an important role in decarbonisation and broader
environmental efforts.

188. Regardless of the route the UK steel industry takes to decarbonise we heard that
the sector is not currently making the most of the high availability of scrap in the UK.
The Secretary of State remarked that “we are exporting a whole lot of scrap to Turkey
and then reimporting it, essentially, as steel. That does not make sense to me and we
have to look at ways in which we can retain and recycle more of the steel scrappage that
we produce.”409 Roz Bulleid of the Green Alliance told us that “it makes a huge amount
of sense to maximise our recycling of steel in the UK rather than […] to export scrap
steel as much as we actually produce and then re-import high quality finished products
ourselves”410 and the Green Alliance called for “ways to use less steel, promote reuse in
sectors such as construction and ensure high quality collection and recycling of scrap
metal.”411

189. Edwin Basson, Director General of the World Steel Association, noted that a smaller
steel-using economy like the UK had the opportunity to become self-contained in the
sense of generating and recycling its own scrap but that the quality of that scrap would
determine the range of products the UK could produce.412 To achieve this model, electric
arc furnace capacity would need to be expanded in the UK along with stricter guidelines
around the recycling of scrap and further measures to ensure that scrap was not exported
out of the country.413 Although there is a high availability of scrap in the UK, only a
low percentage of it (approximately 1 million tonnes) is high quality scrap414 and the
Government will need to create a “supportive environment” to enable the market to
produce a higher percentage of high quality scrap.415 Gareth Stace of UK Steel said that
an understanding should be developed of how the market, Government policy, and scrap
collectors and processors’ practices can be changed in order to provide better quality
scrap at the right price.416

190. When asked what was being done to incentivise the retention and utilisation
of scrap steel in the UK the Secretary of State told us that this was an issue currently
being considered by the UK Steel Council.417 The Secretary of State indicated that the
Government favoured incentives over punitive measures such as export tariffs,418 with the
potential of procurement policy being used to drive demand for clean steel (and therefore
the retention and utilisation of scrap) raised as one of the means being considered to
ensure that scrap is recycled here in the UK.419

191. Previously used steel, also known as scrap, will play a central role in efforts to
decarbonise the UK steel industry. The high availability of scrap in the UK represents

408   World Steel Association, Steel facts, 2018, page 41
409   Q29
410   Q44
411   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
412   Q56
413   Q56
414   Q50
415   Q52
416   Q57
417   Q560
418   Q561
419   Q562




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 56 of 79

54   Liberty Steel and the Future of the UK Steel Industry




a valuable resource which is under-utilised, and a range of measures will be needed to
ensure that the recycling of scrap is a more attractive option for UK steel producers
than exporting it abroad for others to recycle. We welcome the work of the UK Steel
Council in attempting to find solutions to this issue and call on Ministers from both
the Department for Business, Energy and Industrial Strategy and the Department for
Environment, Food and Rural Affairs (with respect to waste policy) to work with the
Council to optimise steel recycling in the UK.




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 57 of 79

                                                       Liberty Steel and the Future of the UK Steel Industry        55




6 The future of the UK steel industry
192. Throughout our inquiry we heard a clear message that the Government needs to
go further in providing support and certainty if it is to avoid future crises and there was
a clear sense of frustration that many long-running challenges had not been resolved.
These challenges were described as “well-rehearsed”420 by Jon Bolton, former CEO
of Liberty Steel while Gareth Stace of UK Steel told us he felt “like a broken record”
in having to raise the same issues repeatedly over a number of years.421 Recent action
taken by the Government to address these issues were variously described as “not really
game changers,”422 “retroactive,”423 and the Government’s position towards the UK steel
industry summarised as “historically unsupportive.”424

193. It is notable that many of these challenges were raised throughout the 2015–16 steel
crisis as endangering the industry and yet remain unresolved today. This period saw
a series of plant closures, company mergers and staff lay-offs and it is estimated that
between September 2015 and March 2016, 7,000 jobs in the steel industry were lost.425
Our predecessor Committee published a report on the crisis in December 2015 and while
it noted that the sector’s difficulties were mainly caused by low prices due to an over-
abundance of steel on the international market426 and a strengthening pound,427 it also
highlighted many of the issues identified in this report, including high electricity prices;428
ineffectual action on unfair trade practices;429 and difficulties encountered by UK steel
producers in competing for public contracts.430 A report by the All Party Parliamentary
Group on Steel and Metal Related Industries published in January 2017 further highlighted
these issues as contributing to what it described as an “existential crisis” and a path of
“accelerating decline that may well lead to the end of the steel industry in this country.”431
The report singled out “the pernicious impact of uncompetitive energy prices;”432 the need
for the Government to commit to a positive public procurement policy;433 and inadequate
defences to protect against unfair and illegal trade,434 all of which were highlighted in the
evidence we received.


420   Q119
421   Q43
422   Q86
423   Q89
424   Q52
425   BBC, Britain’s steel industry: What’s going wrong?, 30 March 2016
426   Business, Innovation and Skills Committee, The UK steel industry: Government response to the crisis First Report
      of Session 2015–16, 21 December 2015, page 6
427   Business, Innovation and Skills Committee, The UK steel industry: Government response to the crisis First Report
      of Session 2015–16, 21 December 2015, page 7
428   Business, Innovation and Skills Committee, The UK steel industry: Government response to the crisis First Report
      of Session 2015–16, 21 December 2015, page 12
429   Business, Innovation and Skills Committee, The UK steel industry: Government response to the crisis First Report
      of Session 2015–16, 21 December 2015, page 19
430   Business, Innovation and Skills Committee, The UK steel industry: Government response to the crisis First Report
      of Session 2015–16, 21 December 2015, page 16
431   The All Party Parliamentary Group on Steel and Metal Related Industries, Steel 2020: Forging a Future for the
      British Steel Industry, January 2017, page 6
432   The All Party Parliamentary Group on Steel and Metal Related Industries, Steel 2020: Forging a Future for the
      British Steel Industry, January 2017, page 15
433   The All Party Parliamentary Group on Steel and Metal Related Industries, Steel 2020: Forging a Future for the
      British Steel Industry, January 2017, page 28
434   The All Party Parliamentary Group on Steel and Metal Related Industries, Steel 2020: Forging a Future for the
      British Steel Industry, January 2017, pp. 25–27




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 58 of 79

56     Liberty Steel and the Future of the UK Steel Industry




194. It is important to note that the support demanded by the industry is not being
sought to gain any particular market advantage but rather to level the playing field with
competitors and enable a transition to net zero, which cannot currently be undertaken on
a purely commercial basis.435 We heard that, even in G7 economies, notable interventions
are made to support the steel industry in areas such as energy costs, decarbonisation and
public procurement and this country will require similar interventions if the UK is to
maintain a strong and sustainable steel sector.436 The consequences of not doing so will
only lead to further decline as the future development of the UK steel industry depends on
investment by private companies whose motivation to invest will rest on an expectation of
profitable operations in the UK relative to the alternatives available.437

195. When questioned on the importance of the sector and the need for further support
the Secretary of State acknowledged that “there is a strategic case for UK-produced
steel”438 and cited the industry’s importance to national security along with its role as
a foundational sector which provides highly paid jobs in areas of relative deprivation as
reasons to back the industry.439 The Secretary of State went on to say that “no country in
the world produces steel on the basis of laissez-faire and the free market”440 and that:

            Once you are strategically committed to the industry, you have to provide
            some measure of support. It does not make sense to say that we are
            strategically committed to this industry and then not support it when the
            market turns against it.441

196. Many of the challenges facing the UK steel industry today are long-running and
have led to crises in the past. Without fundamental reform of energy pricing and a
clear decarbonisation strategy, the sector will fail to attract much needed investment
and continue on a path of accelerating decline. The Government’s rhetoric on the
strategic importance of the sector must be matched by supportive policy.

197. One of the most significant developments since the steel crisis in 2015–16 is the
Government’s ambitious target to reach net zero emissions by 2050442 and to cut emissions
by 78% by 2035,443 both as a challenge and an opportunity for the UK steel industry to
position itself as a leading manufacturer of clean steel. Many of the challenges facing
the industry have gained even greater urgency in the context of these targets, either as
an obstacle or as a means for reaching and achieving them. For example, we heard how
competitive electricity prices were “perhaps the key determinant in the viability of low-




435   Q52
436   IPPR North (LS0005); UK Steel (LS0006)
437   Metals Consulting International Limited (LS0002)
438   Q11
439   Q19
440   Q24
441   Q21
442   Department for Business, Energy and Industrial Strategy, UK becomes first major economy to pass net zero
      emissions law, 27 June 2019
443   Department for Business, Energy and Industrial Strategy, UK enshrines new target in law to slash emissions by
      78% by 2035, 20 April 2021




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 59 of 79

                                                      Liberty Steel and the Future of the UK Steel Industry       57




carbon steel production;”444 that public procurement policy could be used to promote
markets for clean steel;445 and that trade policy could be used to level the playing field
between imported, polluting steel and cleaner, domestically produced products.446

198. Many of these issues were highlighted in the consultation for the Clean Steel Fund,
which identified the poor health of the UK steel sector and the consequent lack of available
capital for anything beyond essential repairs or maintenance as the single most important
barrier to investment in decarbonisation.447 Given that decarbonisation projects carry
significantly more risk than business-as-usual projects, there is a tendency for the former
to achieve a low rank in companies’ project pipelines.448 Improving the overall health
of the UK steel sector will therefore be a necessary condition of decarbonisation and
solutions to the long-term challenges outlined in the previous chapter will be critical if
the sector is to successfully transition to net zero.

199. A successful transition to net zero will be dependent on addressing the wider
challenges and opportunities facing the UK steel industry. These issues will need to be
tackled as part of a broader, strategic approach to decarbonisation.

200. An absence of policy frameworks was identified in responses to the Clean Steel Fund
call for evidence as a key barrier to decarbonisation, in particular a lack of clarity around
technological pathways and certainty around project economics.449 According to these
responses, in certain areas the steel industry is trapped in a ‘chicken and egg’ scenario in
which the risks of committing to a particular technological pathway in isolation without
the necessary infrastructure in place are too great,450 along with the risk of ‘locking in’
a particular technology that later proves to be suboptimal.451 Both of these points were
raised as concerns during our visit to Tata Steel Port Talbot and earlier this year the
outgoing boss at British Steel reported that £1.2 billion of investment promised by Jingye
to upgrade facilities at Scunthorpe and Teeside452 would be put on hold in the absence of
clear direction from Government.453 We were told that decisions are not being made, with
the situation summarised by Roy Rickhuss CBE, General Secretary of Community Union,
as “a lot of uncertainty and concern, and a lot of worried steelworkers […] because nobody
seems to be doing anything.”454

201. The Energy and Climate Intelligence Unit (ECIU), a non-profit organisation that
supports debate on energy and climate change issues in the UK, has claimed that a state
of mutual hesitancy from both Government and industry has resulted in a deficit of plans

444   Department for Business, Energy and Industrial Strategy, UK enshrines new target in law to slash emissions by
      78% by 2035, 20 April 2021
445   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
446   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
447   Department for Business, Energy and Industrial Strategy, Summary of Responses to the Clean Steel Fund Call for
      Evidence, 14 December 2020, page 17
448   Department for Business, Energy and Industrial Strategy, Summary of Responses to the Clean Steel Fund Call for
      Evidence, 14 December 2020, page 17
449   Department for Business, Energy and Industrial Strategy, Summary of Responses to the Clean Steel Fund Call for
      Evidence, 14 December 2020, page 17
450   Department for Business, Energy and Industrial Strategy, Summary of Responses to the Clean Steel Fund Call for
      Evidence, 14 December 2020, page 18
451   Department for Business, Energy and Industrial Strategy, Summary of Responses to the Clean Steel Fund Call for
      Evidence, 14 December 2020, page 19
452   Financial Times, British Steel boss Ron Deelen to resign at end of March, 16 March 2021
453   The Telegraph, British Steel’s Ron Deelen: ‘We would like to start spending big money’, 15 February 2021
454   Q39




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 60 of 79

58     Liberty Steel and the Future of the UK Steel Industry




to commence clean steel production.455 The UK is now in danger of falling behind its
competitors in this regard—the ECIU’s report highlighted twenty trial, pilot and full-
scale projects in Europe already underway that use hydrogen to produce primary steel
and a further fourteen European DRI projects, taking the number of hydrogen steel
projects across the continent to twenty-three.456 According to the ECIU, comparatively
slow progress in the UK will be taken into account by multinational companies that will
tend to direct investment towards plants in Germany, France and further afield instead
of upgrading UK steel mills.457 The report also criticised the Clean Steel Fund which
“as it stands, is not driving progress in steel sector decarbonisation” and the Industrial
Decarbonisation Strategy, due to its lack of actionable policies and pledges.458

202. The Department acknowledged that “the costs and risks associated with […]
decarbonisation technologies, such as carbon capture and storage and hydrogen, mean
that companies are finding it challenging to invest on a purely commercial basis.”459 The
Department cited the £1 billion of investment up to 2025 it has offered to facilitate the
deployment of carbon capture and storage in two industrial clusters by the mid-2020s and
four clusters by 2030. It also cited the Government’s Hydrogen Strategy and consultation
package which sets out support for the production and use of low carbon hydrogen across
the wider economy.460

203. However, aside from the Industrial Decarbonisation Strategy, which does not
contain a set of actionable policies, the Government lacks a clear roadmap or overarching
strategy for decarbonising steel. The Industrial Decarbonisation Strategy itself explicitly
states that it is “technology neutral”461 and that “in the long run [the UK Government]
believe that markets will be best placed to determine the most cost-effective pathways to
decarbonisation.”462 As such, it fails to address the lack of clarity around technological
pathways that was raised as a concern in responses to the Clean Steel Fund.

204. Furthermore, following the shelving of the original Industrial Strategy463 the
Government lacks a broader strategy for the steel sector as a whole. The Government’s
original Industrial Strategy made brief mention of steel, promising to “identify
opportunities for steel markets and build on these innovation assets across the UK”
with an ambition to “engage with industry, as well as with the unions, the devolved
administrations and other partners to develop a commercially sustainable proposition
in a competitive global market.”464 The Government has since transitioned its Industrial

455   Energy and Climate Intelligence Unit, Stuck on the starting line: How the UK is falling behind Europe in the race
      to clean steel, May 2021, page 8
456   Energy and Climate Intelligence Unit, Stuck on the starting line: How the UK is falling behind Europe in the race
      to clean steel, May 2021, pp. 8–9
457   Energy and Climate Intelligence Unit, Stuck on the starting line: How the UK is falling behind Europe in the race
      to clean steel, May 2021, page 11
458   Energy and Climate Intelligence Unit, Stuck on the starting line: How the UK is falling behind Europe in the race
      to clean steel, May 2021, page 6
459   Correspondence to the Business, Energy and Industrial Strategy Committee, 10 August 2021
460   Correspondence to the Business, Energy and Industrial Strategy Committee, 10 August 2021
461   Department for Business, Energy and Industrial Strategy, Industrial Decarbonisation Strategy, 17 March 2021,
      page 53
462   Department for Business, Energy and Industrial Strategy, Industrial Strategy: Building a Britain fit for the future,
      November 2017, page 9
463   For our report on the Government’s Industrial Strategy see: Business, Energy and Industrial Strategy Committee,
      Post-pandemic economic growth: Industrial policy in the UK First Report of Session 2021–22, 28 June 2021
464   Department for Business, Energy and Industrial Strategy, Industrial Strategy: Building a Britain fit for the future,
      November 2017, page 239




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 61 of 79

                                                         Liberty Steel and the Future of the UK Steel Industry         59




Strategy into the Plan for Growth465 which, while mentioning issues tangentially related
to the sector, such as the Government’s ambitions to transition to net zero, investing in
infrastructure and levelling up, does not mention the steel industry once.

205. The Financial Times reported that the shelving of the Industrial Strategy was part of a
move by the Government to a more ad hoc approach to economic support.466 However, we
heard that a longer-term, comprehensive policy framework was needed to “help move the
industry past short-term bailouts,”467 “ensure it realigns to meet climate targets”468 and
enable it to “adapt and survive.”469 According to reports in the Financial Times, industry
executives have stressed that investment decisions will only be made on the basis of a
clear strategy from the Government and clarity on the direction of travel was needed if
the UK was to be at the “vanguard of decarbonisation.”470 However, according to Gareth
Stace of UK Steel, none of the initiatives announced by the Government so far “add up
to a comprehensive strategy.”471 In evidence submitted by GFG Alliance, we heard that
the “distressed, mothballed and loss-making states” of the businesses it purchased were
due in part to “the lack of a long-term, realisable, strategic vision for the industry in the
UK”472 and Roy Rickhuss CBE noted that a coordinated approach would help to ensure
that decisions in the future are taken in line with the best interests of the industry as a
whole rather than the interests of single entities.473

206. The steel sector has been actively seeking support and certainty from the Government
since the publication of the original Industrial Strategy in 2017, one of the key components
of which were ‘sector deals.’ These were defined as “partnerships between the Government
and industry on sector specific issues” which could “create significant opportunities
to boost productivity, employment, innovation and skills.”474 In September 2017, UK
Steel published a set of proposals that would form the basis of a potential sector deal. It
included a number of commitments from the UK steel sector including increasing annual
investment from £200 million to £300 million; increasing employment from 2,300 to
33,700; and providing £30 million per year of matched R&D funding via a new ‘Future
Steel Challenge Fund.’475 In return it sought commitments from the Government on
electricity costs, public procurement and business rates.476 However, to date a sector deal
has not been agreed. Our predecessor Committee’s report Industrial Strategy: Sector Deals
published in March 2019 noted that despite multiple meetings between the sector and the
Government on a deal the Government appeared “unwilling to meet the requests of the
sector.”477 UK Steel responded to the report by reiterating the industry’s need for a level
playing field with competitors:


465   HM Treasury, Build Back Better: our plan for growth, 3 March 2021
466   Financial Times, Business dismay at decision to drop plan for UK industrial strategy, 8 March 2021
467   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
468   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
469   Green Alliance, Hanbury Strategy, European Climate Foundation (LS0003)
470   Financial Times, Britain’s steel industry faces up to the climate challenge, 7 June 2021
471   Financial Times, Britain’s steel industry faces up to the climate challenge, 7 June 2021
472   GFG Alliance (LS0008)
473   Q35
474   Department for Business, Energy and Industrial Strategy, Industrial Strategy: Building a Britain fit for the future,
      November 2017, page 192
475   UK Steel, A Steel Sector Deal: Executive Summary, September 2017, page 1
476   UK Steel, A Steel Sector Deal: Executive Summary, September 2017, page 1
477   Business, Energy and Industrial Strategy Committee, Industrial Strategy: Sector Deals, Seventeenth Report of
      Session 2017–19, 19 March 2019, page 22




                                                                                                                        CRK-2/1749
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 62 of 79

60     Liberty Steel and the Future of the UK Steel Industry




            The steel sector has put forward a comprehensive sector deal proposal
            committing to increases in jobs, capital investment and production capacity.
            To unlock this, and place the sector on a sustainable footing, the sector
            simply requires a level playing field with our EU counterparts on electricity
            prices and business rates.478

It further urged the Government to “fully recognise the importance of foundation sectors,
highly innovative in their right, not only to the success of other manufacturing sectors,
but to UK construction, infrastructure and the wider economy.”479 The Government
responded to the report by stating that it remained “open to discussing a sector deal with
the steel industry and have been meeting with companies in the sector regularly to discuss
this.”480 However, the Government claimed that while the sector had made significant
demands on energy prices and business rates it had put forward only limited commitments
on future UK investment, portraying the sector’s position as an “ask,” not a “deal.”481

207. When asked whether the Government was considering a strategy for steel in light of
its refusal to approve a sector deal and the shelving of its Industrial Strategy, the Secretary
of State pointed to the Government’s review of public procurement rules but did not speak
more broadly on plans for an overarching strategy for the sector.482 However, this position
appears to have developed in the intervening months. When asked again in July whether
the Government was considering a strategy for steel, the Secretary of State responded:

            In the next few months, we should have more clarity as to what we will be
            coming out with, but I definitely hear the argument that we have to think of
            steel on a longer-term basis. I, and a number of my predecessors, have dealt
            with steel crises over the last five or six years now on an ad hoc basis. We had
            the Tata Steel crisis, if I can put it that way, in 2016. We have had an ongoing
            issue with British Steel and Greybull, and then selling it on to Jingye, after
            a period when it was being looked after by the official receiver. We have
            issues now. I want to have a much more sustainable, long-term approach to
            the sector. It is time now to think about how we can do that. I have said that
            the principle behind any kind of long-term future for the industry, which I
            passionately believe in, will be some deal around Government support for
            the industry and a commitment to decarbonisation.483

We wrote to the Secretary of State following the session seeking clarification on when a
strategy was expected and were told that this was being looked at “as a potential option”
but that a commitment could not be given without pre-empting the work of the Steel
Council or of collective Government decision-making.484

208. The steel industry has faced a number of crises in recent years but action to support
the sector has been taken on a mostly ad hoc, reactive basis. The sector cannot continue
to lurch from crisis to crisis and action is needed now if the UK is to retain a resilient
478   UK Steel, Press Release: BEIS Select Committee Sector Deal Report, 19 March 2019
479   UK Steel, Press Release: BEIS Select Committee Sector Deal Report, 19 March 2019
480   Business, Energy and Industrial Strategy Committee, Industrial Strategy: Sector Deals: Government Response to
      the Committee’s Seventeenth Report, Nineteenth Special Report of Session 2017–19, 7 June 2019, page 4
481   Business, Energy and Industrial Strategy Committee, Industrial Strategy: Sector Deals: Government Response to
      the Committee’s Seventeenth Report, Nineteenth Special Report of Session 2017–19, 7 June 2019, page 5
482   Q14
483   Q523
484   Correspondence to the Business, Energy and Industrial Strategy Committee, 10 August 2021




                                                                                                                  CRK-2/1750
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 63 of 79

                                         Liberty Steel and the Future of the UK Steel Industry   61




and competitive domestic industry. Decarbonisation presents a unique opportunity to
realign the sector but this will require a comprehensive, joined-up policy framework
to remove barriers to transformation and enable critical investment decisions.

209. We call on Ministers to establish a new Sector Deal for the steel industry. The
Sector Deal should address long-running challenges to the sector’s competitiveness
as part of a cohesive plan for decarbonising the industry. It should set out a range of
supportive policies to assist this transition and a clear roadmap for how the industry
will decarbonise in line with the Government’s target to cut emissions by 78% by 2035
and reach net zero by 2050. This Sector Deal should be developed in response to the Steel
Council’s report later this year and announced no later than Summer 2022.




                                                                                                 CRK-2/1751
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 64 of 79

62   Liberty Steel and the Future of the UK Steel Industry




Conclusions and recommendations
     Liberty Steel UK and the GFG Alliance

     Corporate Governance

1.   The corporate structure and governance of GFG Alliance companies resulted in
     no formal oversight or accountability of the decisions taken by Sanjeev Gupta. Mr
     Gupta put members of his staff in an unacceptable position by employing them with
     job titles associated with traditional executive functions in well run companies,
     without giving them the required access to information or decision-making powers
     necessary for them to perform their duties. It is unclear why Mr Gupta opted to
     structure his companies in this unusual and, given the scale of his operations,
     unacceptable way. (Paragraph 28)

2.   We recommend that Ministers reflect on the systemic risks to UK industry posed by such
     unusual corporate structures and, if deemed necessary, bring forward amendments to
     the Companies Act. (Paragraph 29)

     Audit

3.   We were not reassured by the evidence presented by King & King and note the legal
     restrictions placed upon Mr Patel, and other auditors who had previously audited
     GFG Alliance companies, by Sanjeev Gupta. (Paragraph 44)

4.   Despite public statements over a number of years to the contrary, we see, as yet,
     no tangible evidence that Sanjeev Gupta and GFG Alliance companies are making
     improvements to corporate governance or improving transparency through the
     publication of consolidated accounts. (Paragraph 45)

5.   We found it utterly unconvincing, and do not believe that King & King had the
     capacity, expertise, or resources to audit the accounts of multiple large GFG
     Alliance and Liberty Steel UK companies representing over £2.5 billion of revenue.
     (Paragraph 49)

6.   The reputation of Liberty Steel UK has been threatened by the poor audit and
     accounting practices of GFG Alliance, including the changing of accounting
     deadlines and its inability to produce consolidated accounts. As these accounts are
     yet to be published it is difficult to see the true financial picture of Liberty Steel
     UK. Unless remedied, these deficiencies severely limit the potential of that firm to
     be viewed as a reliable partner in any long-term strategy for the UK steel industry.
     (Paragraph 50)

7.   We recommend that the Financial Reporting Council, as the competent authority
     for audit in the UK, refer this case to the relevant Recognised Supervisory Body, the
     Institute of Chartered Accountants for England and Wales, to investigate King &
     King under the Audit Enforcement Procedure as a matter of urgent public interest.
     (Paragraph 51)




                                                                                         CRK-2/1752
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 65 of 79

                                            Liberty Steel and the Future of the UK Steel Industry   63




      Government rejection of funding for Liberty Steel UK

8.    We commend the Government’s decision to reject GFG Alliance’s request for £170
      million of financial support in March 2021. The Secretary of State was correct to be
      cautious about providing a large grant to a group of companies with a centralised,
      complex and opaque governance structure. (Paragraph 56)

9.    In light of the Greensill Capital collapse and subsequent financial hardship of GFG
      Alliance and Liberty Steel UK, we urge the Government to give consideration to
      formalising the fit and proper person test for private company directors within any
      future steel sector deal. (Paragraph 57)

10.   We note the recent developments within GFG Alliance and Liberty Steel UK and
      welcome the injection of capital at Liberty Steel’s Rotherham plant. However, we
      note that once again Sanjeev Gupta has decided to set up an additional corporate
      entity to provide financial support to Liberty Steel UK companies without clear
      reporting and decision making on the source and terms of use of that funding.
      (Paragraph 60)

11.   We would welcome the Insolvency Service considering whether, on the basis of the
      evidence we have received, Sanjeev Gupta may have acted in breach of his fiduciary
      duties as a company director in the United Kingdom. (Paragraph 61)

12.   More broadly, we believe that until Mr Gupta restructures his GFG Alliance
      companies into a more acceptable corporate structure and publishes consolidated
      accounts that are adequately audited, that he fails to fulfil the criteria that we believe
      should be applied to define a fit and proper person for the purposes of receiving any
      form of Government support. (Paragraph 62)

      Supply Chain Finance

13.   The way in which future, or prospective, receivables operated between GFG Alliance
      and Greensill Capital is disputed by both parties. We note that several claims have
      been made about the use of future receivables and their relation to “suspect invoices”
      and welcome the Serious Fraud Office’s investigation into this matter. (Paragraph 78)

14.   Steel is a foundational industry in the UK and in need of significant structural
      reform. The use of high-risk financial funding practices, such as future receivables
      lending, that Greensill Capital and GFG Alliance engaged in are barriers to such
      reforms. By his use of such practices Mr Gupta, the so-called “saviour of steel” is
      creating uncertainties that further undermine the long term viability of the steel
      industry in the UK. (Paragraph 79)

15.   We recommend that the Financial Conduct Authority and HM Treasury investigate
      the use of, and accounting rules for, future or prospective receivables. (Paragraph 80)

16.   GFG Alliance’s reported engagement in circular trading, or REPO structures,
      exacerbated a concentration risk to Greensill Capital by raising large amounts of
      working capital against invoices created to raise finance instead of selling steel to
      genuine customers. (Paragraph 86)



                                                                                                    CRK-2/1753
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 66 of 79

64    Liberty Steel and the Future of the UK Steel Industry




17.   We did not receive evidence that the use of circular trading between companies is
      a systemic issue, but note the potential criminal liability associated with the worst
      examples of financial engineering between businesses. Despite repeated reassurances
      from GFG Alliance, we remain unconvinced by Sanjeev Gupta’s attempts to re-
      structure and re-finance his businesses. We are not satisfied that Sanjeev Gupta is
      adequately addressing the many fundamental issues and concerns associated with
      the corporate governance, leadership, transparency, funding and operations of
      his businesses and remained concerned that this poses a threat to the long-term
      prospects of Liberty Steel UK. (Paragraph 87)

      Coronavirus Large Business Interruption Loans Scheme

18.   We note that concerns were raised by HM Treasury and shared with BEIS about
      GFG Alliance and Wyelands Bank during the accreditation process of Greensill
      Capital to the CLBIL scheme. (Paragraph 102)

19.   We recognise that the subsequent level of interest from the BEIS Department about
      the accreditation of Greensill Capital was “unusual” but we are confident that this did
      not impact the approval process and the British Business Bank’s decision remained
      independent. Given the potential impact of the financial position of Greensill Capital
      on Liberty Steel’s UK operations, we acknowledge the due diligence of both the
      Secretary of State and his officials in monitoring the accreditation process closely
      was entirely proper. (Paragraph 103)

20.   However, the collapse of Greensill Capital and its impact on Liberty Steel UK
      highlights the fragility of the sector in the UK more generally and raises far reaching
      and fundamental questions for the Government to consider in terms of how it should
      work with the industry to secure a sustainable, long-term future. (Paragraph 104)

      Challenges and opportunities facing the UK steel industry

      Electricity prices

21.   High electricity prices are hindering the ability of UK steel producers to compete on
      the international market and are a deterrent to inward investment. If the Government
      is serious about decarbonising the steel industry, it must first recognise the severity
      of the challenge energy prices pose to steel companies in achieving the transition to
      net zero and take action to reduce these costs. (Paragraph 115)

22.   UK steel producers were already facing some of the highest electricity prices in
      Europe prior to recent rises in the wholesale price of gas. Soaring gas prices have
      since transformed what was a long-standing problem into an immediate crisis.
      We urge the Government to support UK steel producers but note that short-term
      bailouts must not be at the expense of a longer-term strategy to secure a level playing
      field for UK steel producers with their European counterparts. (Paragraph 119)

23.   We recognise that decisions on how and whether to compensate industry for the
      costs of electricity will, by necessity, have implications for consumers and other
      network users. However, it is clear that current electricity costs for UK steel



                                                                                           CRK-2/1754
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 67 of 79

                                            Liberty Steel and the Future of the UK Steel Industry   65




      producers are unsustainable. Compensation provided by the Government to the UK
      steel industry to date has fallen far short of the support offered to their competitors
      and has not translated into a meaningful reduction in the price disparity. Energy
      policy costs have been brought down but remain twice as high as those in France
      and Germany while network costs are almost ten times as high. Further support
      from the UK Government will be needed if the UK steel industry is to compete on
      a level playing field and attract investment. This issue will only become more urgent
      as the industry moves to decarbonise and the sector’s demand for electricity rises
      accordingly. (Paragraph 125)

24.   If additional support is not forthcoming, high electricity prices will continue to have
      a pernicious effect on the UK steel industry, resulting in long-term decline and future
      crises. The Government should set out, following a consultation with industry, what
      support it will offer beyond the current compensation scheme to reduce the cost of
      electricity for UK steel producers and bring them in line with those of their competitors.
      At a minimum, the price disparity should be brought down to within £1/MWh of the
      total cost faced by key competitors in France and Germany and the Government should
      track any disparity going forward to ensure it does not widen again. (Paragraph 126)

25.   When implemented, the Targeted Charging Review has the potential to burden
      UK steel producers with costs exceeding relief provided to the sector as an energy
      intensive industry. We note that despite this decision having a potentially significant
      impact on UK steel producers it has been left entirely to Ofgem without the
      opportunity for the Government to intervene. (Paragraph 131)

26.   Given that UK steel producers are already facing some of the highest electricity prices
      in Europe and that demand for electricity will only increase as the sector decarbonises,
      the Government should exempt the steel sector from increased costs arising from
      Targeted Charging Review reforms. (Paragraph 132)

      Public Procurement

27.   Despite advances made since the publication of the Procurement Policy Note in
      2015, UK steel producers are still encountering challenges when competing for and
      securing public contracts. Much of this is due to an opaque and informal approach
      taken to steel procurement by contracting authorities and action is needed from
      the Government to make this process more transparent. Furthermore, a lack of
      transparency in steel supply chains together with an absence of explicit guidance
      on how social and environmental considerations should be applied has meant that
      broader objectives are being missed. Public procurement of steel has the potential
      to deliver wider benefits and further action is needed to ensure that the full value
      offered by UK steel producers is taken into account when supplying steel into public
      projects. (Paragraph 141)

28.   To ensure full transparency, the Procurement Policy Note (PPN) on steel procurement
      in major projects should be updated to include a requirement for contracting
      authorities to provide supply chain plans and publicise supply opportunities for UK
      steel producers. The Government should also publish updated guidance on how social
      and environmental considerations should be made in relation to steel purchases to
      ensure these are taken into account by contracting authorities. (Paragraph 142)


                                                                                                    CRK-2/1755
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 68 of 79

66    Liberty Steel and the Future of the UK Steel Industry




29.   High-quality data will be essential for monitoring and improving compliance with
      steel procurement policy. However, this data is currently incomplete with only
      partial data being reported by Government Departments and Arm’s Length Bodies.
      We welcome the work of the Steel Procurement Taskforce in working to improve the
      quality of this data. However, at the very least, all Government projects should be
      fully reporting on the value and origin of their steel requirements. (Paragraph 146)

30.   A requirement should be set for all Government projects, including steel contracts
      awarded by the Contracts for Difference scheme and Highways England, to fully
      report on the value and origin of their steel requirements. (Paragraph 147)

31.   Decisive action should be taken to ensure that UK steel producers do not miss out
      on the Government’s ambitious infrastructure programme. Setting minimum UK
      steel content targets for major public projects would serve as an important first
      step to improving opportunities for UK steel producers. The Government should
      introduce minimum UK steel content targets for major public projects, starting with
      High Speed 2. (Paragraph 151)

      Trade

32.   Given that global steel markets continue to be heavily distorted by state subsidisation
      and that the EU and the US continue to apply tariffs on imported steel, the UK
      requires a response from Government regarding potential trade divergence towards
      UK markets and significant injury to UK steel producers. (Paragraph 158)

33.   We share the concerns expressed to us that the Trade Remedies Authority’s
      recommendation to revoke safeguards on nine categories of steel imports was not
      based on an open dialogue with industry and had therefore missed the wider impact
      its decision would have had on UK steel producers. These concerns also appear to be
      shared by the UK Government as demonstrated by its decision to overrule the Trade
      Remedies Authority’s recommendation and grant industry more time to appeal its
      decision. A two-way dialogue with industry must inform future recommendations
      by the Trade Remedies Authority and we welcome the opportunity given to both
      parties to do so. (Paragraph 165)

      Decarbonisation

34.   There is a clear lack of direction with respect to the future of the nation’s blast
      furnaces both within the Government and in industry. A range of options exist
      for the decarbonisation of primary steelmaking, including carbon capture and
      storage (CCS), hydrogen, or a mixture of technologies running in parallel. It will
      ultimately be for the sector and each individual business, with its own unique sites
      and products, to work out which technology is optimal for them. However, to enable
      these decisions industry requires certainty from Government on infrastructure and
      wider system changes. (Paragraph 175)

35.   We found broad agreement that the UK should retain a primary steelmaking
      capacity rather than push its emissions and business abroad, a point recognised
      in the Government’s own Industrial Decarbonisation Strategy. However, if the
      Government is serious about its emissions targets and given that the nation’s blast


                                                                                           CRK-2/1756
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 69 of 79

                                           Liberty Steel and the Future of the UK Steel Industry   67




      furnaces will soon need to be replaced, if the UK is to retain its primary steelmaking
      capacity then key decisions and certainty are needed imminently. The Government’s
      Industrial Decarbonisation strategy has so far failed to provide this certainty and
      the Government must step up its efforts to provide industry with direction and
      a supportive policy environment to enable it to transition to a low carbon future.
      (Paragraph 176)

36.   We identified enthusiasm from many witnesses for the use of hydrogen direct reduced
      iron as a technology well-suited to decarbonising the UK steel industry. However,
      as with other potential solutions, it is a technology that remains untested at scale.
      A pilot of hydrogen-based steel production in the UK would help to inform future
      decisions on decarbonisation; create initial capability; develop UK-based expertise;
      and facilitate a switch to hydrogen once the technology is proven. (Paragraph 185)

37.   The Government should commit to a pilot of hydrogen-based steel production in the
      UK as part of its industrial decarbonisation strategy. Funding for the project should
      be sought in partnership with interested steel businesses or backed in part by the
      Clean Steel Fund. The Government should further consult on the most appropriate
      location for the pilot which would deliver the widest benefit for industry as a whole.
      (Paragraph 186)

38.   Previously used steel, also known as scrap, will play a central role in efforts to
      decarbonise the UK steel industry. The high availability of scrap in the UK represents
      a valuable resource which is under-utilised, and a range of measures will be needed
      to ensure that the recycling of scrap is a more attractive option for UK steel producers
      than exporting it abroad for others to recycle. We welcome the work of the UK Steel
      Council in attempting to find solutions to this issue and call on Ministers from both
      the Department for Business, Energy and Industrial Strategy and the Department
      for Environment, Food and Rural Affairs (with respect to waste policy) to work with
      the Council to optimise steel recycling in the UK. (Paragraph 191)

      The future of the UK steel industry

39.   Many of the challenges facing the UK steel industry today are long-running and have
      led to crises in the past. Without fundamental reform of energy pricing and a clear
      decarbonisation strategy, the sector will fail to attract much needed investment and
      continue on a path of accelerating decline. The Government’s rhetoric on the strategic
      importance of the sector must be matched by supportive policy. (Paragraph 196)

40.   A successful transition to net zero will be dependent on addressing the wider
      challenges and opportunities facing the UK steel industry. These issues will need to be
      tackled as part of a broader, strategic approach to decarbonisation. (Paragraph 199)

41.   The steel industry has faced a number of crises in recent years but action to support
      the sector has been taken on a mostly ad hoc, reactive basis. The sector cannot
      continue to lurch from crisis to crisis and action is needed now if the UK is to retain
      a resilient and competitive domestic industry. Decarbonisation presents a unique
      opportunity to realign the sector but this will require a comprehensive, joined-
      up policy framework to remove barriers to transformation and enable critical
      investment decisions. (Paragraph 208)


                                                                                                   CRK-2/1757
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 70 of 79

68    Liberty Steel and the Future of the UK Steel Industry




42.   We call on Ministers to establish a new Sector Deal for the steel industry. The Sector
      Deal should address long-running challenges to the sector’s competitiveness as
      part of a cohesive plan for decarbonising the industry. It should set out a range of
      supportive policies to assist this transition and a clear roadmap for how the industry
      will decarbonise in line with the Government’s target to cut emissions by 78% by 2035
      and reach net zero by 2050. This Sector Deal should be developed in response to the
      Steel Council’s report later this year and announced no later than Summer 2022.
      (Paragraph 209)




                                                                                          CRK-2/1758
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 71 of 79

                                       Liberty Steel and the Future of the UK Steel Industry   69




Annex A: Glossary
       Ȥ   Basic oxygen process: Primary steelmaking process in which oxygen is
           blown through molten pig iron, initiating a series of reactions that includes
           the oxidation of carbon along with other impurities such as silicon,
           phosphorus, and manganese. This converts high-carbon pig iron into low-
           carbon steel.

       Ȥ   Blast furnace: Vertical shaft furnace used to produce pig iron from iron ore
           by the reducing action of carbon (supplied as coke) at a high temperature
           in the presence of a fluxing agent such as limestone. Rapid combustion is
           maintained by a hot blast of air blown under pressure into the lower section
           of the furnace.

       Ȥ   Capacity Market: Aims to manage security of electricity supply and
           safeguard against the possibility of future blackouts by paying participants
           a per MW rate for the capacity they offer to the market.

       Ȥ   Carbon Capture and Storage: Process of capturing carbon dioxide before
           transporting it to and storing it in an underground geological formation.

       Ȥ   Carbon Capture and Utilisation: Process of capturing carbon dioxide for
           later recycling, for example in plastics or biofuels.

       Ȥ   Carbon Price Support: Tax on carbon emissions paid by electricity
           generating stations or operators of combined heat and power stations.

       Ȥ   Circular financing: In circular financing the customer raises an invoice
           against the sale of a product. The product is then sold to related companies
           and further invoices can be raised against these sales. The product is not
           necessarily physically sold and moved in these transactions. This allows the
           original company to raise additionally money against invoices for the sale
           of the same goods, therefore, it has more working capital.

       Ȥ   Clean Steel Fund: £215 million of funding set to be released no earlier than
           2023 to support the UK steel sector transition to lower carbon iron and steel
           production.

       Ȥ   Contracts for Difference: Government scheme which supports low-carbon
           electricity generation by awarding developers of low-carbon electricity-
           generating projects the difference between the strike price and the reference
           price for electricity produced over the course of the contract.

       Ȥ   Coronavirus Business Interruption Loan Scheme (CBILS): Scheme
           available through a range of accredited lenders and partners which offered
           up to £5 million of financial support backed by Government-backed
           guarantees to small UK businesses adversely affected by COVID-19.

       Ȥ   Coronavirus Corporate Finance Facility (CCFF): a joint HM Treasury
           and Bank of England lending facility designed to support liquidity among




                                                                                               CRK-2/1759
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 72 of 79

70   Liberty Steel and the Future of the UK Steel Industry




                larger firms, helping them to bridge coronavirus disruption to their cash
                flows through the purchase of short-term debt in the form of commercial
                paper (CP).

         Ȥ      Coronavirus Large Business Interruption Loans Scheme (CLBILS):
                Scheme available through a range of accredited lenders and partners which
                offered up to £200 million of financial support backed by Government-
                backed guarantees to mid-sized and larger UK businesses adversely affected
                by COVID-19.

         Ȥ      Corporate governance: System of practices, rules and processes by which
                a company is governed and controlled. It ensures that businesses have
                sufficient power, accountability and decision-making processes in place in
                order to effectively run a company.

         Ȥ      Direct reduced iron: Iron directly reduced from iron ore by means of a
                reducing gas (such as hydrogen) or elemental carbon without the need for
                melting the iron ore. The resulting product is also known as sponge iron.

         Ȥ      Electric arc furnace: Furnace which melts scrap steel into liquid steel by
                means of high-current electric arcs.

         Ȥ      Energy Intensive Industries: Exemption and compensation schemes for
                electricity-intensive businesses seeking exemption from the indirect costs
                of funding Contracts for Difference, the Renewables Obligation and the
                small-scale Feed-in Tariff.

         Ȥ      Feed-in Tariff: Aims to promote the uptake of renewable and low-carbon
                electricity generation technologies by requiring participating electricity
                suppliers to make payments on generation and export.

         Ȥ      Future/prospective receivables: Similar financial tool to supply chain
                finance insofar as companies can raise capital from a financial institution
                as a loan. However, where a physical invoice, and therefore proof of sale, is
                needed to raise capital in supply chain finance, with future receivables the
                lending financial institution does not need an invoice or proof of sale to
                lend to a company, it only needs the anticipation of future business, which
                in some cases may not materialise.

         Ȥ      Hydrogen Strategy: Strategy published in August 2021 setting out how the
                Government plans to develop a low carbon hydrogen sector and meet its
                ambition for 5GW of low carbon hydrogen production capacity by 2030.

         Ȥ      Industrial Decarbonisation Strategy: Strategy published in March 2021
                setting out how industry can decarbonise in line with the Government’s net
                zero targets while remaining competitive and without pushing emissions
                abroad.

         Ȥ      Industrial Energy Transformation Fund: £315 million of funding available
                up until 2025 to support businesses with high energy use to develop and
                deploy low carbon technologies.



                                                                                           CRK-2/1760
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 73 of 79

                                       Liberty Steel and the Future of the UK Steel Industry   71




       Ȥ   Integrated steelworks: Industrial plant which contains all the facilities
           necessary for primary steel production. The UK has two integrated sites,
           one at Port Talbot and one at Scunthorpe.

       Ȥ   Net Zero Hydrogen Fund: Fund subject to consultation which aims to
           support at-scale deployment of low carbon hydrogen production during
           the 2020s.

       Ȥ   Pig iron: Intermediate product obtained from smelting iron ore in a blast
           furnace. Brittle due to its high carbon content. Can be converted into steel
           using the basic oxygen process.

       Ȥ   Port Talbot steelworks: Integrated primary steel production site operated
           by Tata Steel. Largest of the UK’s two remaining integrated steelworks.

       Ȥ   Primary steelmaking: Steel obtained from the basic oxygen process.

       Ȥ   Renewables Obligation: Scheme in England and Wales which supports the
           generation of renewable electricity by operating as a market-based system
           of tradable Renewables Obligation Certificates. Certificates are issued to
           generators free of charge by Ofgem in relation to the amount of renewable
           electricity they generate. Generators then sell the certificates to suppliers
           or traders, which gives generators a premium in addition to the wholesale
           price of their electricity.

       Ȥ   Scunthorpe steelworks: Integrated primary steel production site operated
           by British Steel.

       Ȥ   Secondary steelmaking: Steel obtained from the electric arc furnace route.

       Ȥ   Supply chain finance: Tool commonly used by large financial institutions
           such as banks. It is typically offered the biggest customers of lenders who
           tend to be large companies. For the lenders, supply chain finance is deemed
           to be relatively low risk as default rates are typically lower than for other
           types of lending.

       Ȥ   Targeted Charging Review: Review launched by Ofgem in August 2017
           to address concerns that the framework for residual and cost-recovery
           charging would result in inefficient use of the networks and unfair outcomes
           for consumers. The proposed changes are set to be implemented in stages
           with reforms at the distribution level introduced in April 2022 and the
           transmission level in April 2023.

       Ȥ   UK Emission Trading System: Replaced the UK’s participation in the EU
           Emission Trading System on 1 January 2021. Works on the ‘cap and trade’
           principle where a cap is set on the total amount of certain greenhouse gases
           that can be emitted by sectors covered by the scheme.




                                                                                               CRK-2/1761
Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 74 of 79

72     Liberty Steel and the Future of the UK Steel Industry




Annex B: List of Liberty Steel UK sites
210. Liberty Steel Scunthorpe: Manufactures hot rolled steel. With an annual capacity
in excess of 400,000 tonnes, the site specialises in the manufacture of steel flat, round
and square bar, steel angles (both equal and unequal), steel convex bar, steel beams and
channels as well as steel crane rail.485

211. Liberty Performance Steels: Manufactures a specialised range of precision cold rolled
steel strip from 0.15–8.00mm in thickness. It has particular expertise in the provision of
cold rolled steel strip for the automotive, aerospace and pressing sectors including medical
fixtures and high-quality sintered bearings.486

212. Liberty Powder Metals: A fully integrated steel manufacturer and distributor
suppling powder metals.487

213. Liberty Speciality Steels–Brinsworth Narrow Strip: Produces a range of hot rolled
narrow strip including alloy grades, stainless steels, hire rolling, free-cutting steels, high
carbon grades, low carbon, medium carbon grades, boron grades, HSLA and low alloy
grades.488

214. Liberty Speciality Steels - Engineering Bar: Engineering Bar has manufacturing
facilities on two sites in Rotherham and Wednesbury consisting of Bright Bar Rotherham,
Bright Bar Wednesbury and Roundwood Processing Centre. The division supplies hot
rolled bar and coil, as well as cold finished bar. Typical applications include hydraulics,
yellow goods and general machining.489

215. Liberty Speciality Steels - Rotherham Steel and Bar: Includes primary and
secondary electric arc steelmaking, vacuum degassing, ingot casting, continuous casting,
bar and coil rolling, and bar processing and inspection.490

216. Liberty Speciality Steels - Stocksbridge: Offers VIM steelmaking, VAR and ESR re-
melting, primary rolling, finishing, stockholding and machined components. The division
is focused on offering alloy and stainless-steel grades for use in sectors such as aerospace,
oil and gas and industrial engineering.491

217. Liberty Steel Dalzell: Manufacturers of heavy steel plate for major construction
projects.492

218. Liberty Steel Hartlepool: Manufacturer of SAW carbon steel pipes.493




485   Liberty Steel Group, Liberty Steel Scunthorpe
486   Liberty Steel Group, Cold Rolled Precision Strip
487   Liberty Steel Group, Liberty Powder Metals
488   Liberty Steel Group, Hot Rolled Narrow Strip
489   Liberty Steel Group, Liberty Speciality Steels - Engineering Bar
490   Liberty Steel Group, Liberty Speciality Steels - Rotherham Steel & Bar
491   Liberty Steel Group, High Value Manufacturing
492   Liberty Steel Group, Liberty Steel Dalzell
493   Liberty Steel Group, Liberty Steel Hartlepool




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 75 of 79

                                                    Liberty Steel and the Future of the UK Steel Industry   73




219. Liberty Steel Newport: Manufactures and suppliers of Hot Rolled Coil (HRC) for
domestic and export markets. The HRC manufactured supports a variety of industrial
applications including construction, automotive, pipes and tubes, structural hollow
sections, highways, yellow goods, materials-handling and power.494

220. Liberty Steel Tredegar: Specialises in the production of ERW mechanical steel
tubes and sections, cold formed structural hollow sections and tubes for low-pressure
applications. The plant’s two mills manufacture a range of sizes and qualities for use in
industries such as construction, mining, agriculture, marine, materials handling, heating
and cooling, fabrication, street furniture and leisure equipment manufacture.495




494   Liberty Steel Group, Liberty Steel Newport
495   Liberty Steel Group, Liberty Steel Tredegar




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 76 of 79

74   Liberty Steel and the Future of the UK Steel Industry




Formal Minutes
Tuesday 2 November 2021

Members present:
Darren Jones, in the Chair

Richard Fuller

Nusrat Ghani

Mark Jenkinson

Mark Pawsey

Draft Report (Liberty Steel and the Future of the UK Steel Industry), proposed by the Chair,
brought up and read.

Ordered, That the draft Report be read a second time, paragraph by paragraph.

Paragraphs 1 to 209 read and agreed to.

Annexes agreed to.

Summary agreed to.

Resolved, That the Report be the Fourth of the Committee to the House.

Ordered, That the Chair make the Report to the House.

Ordered, That embargoed copies of the Report be made available, in accordance with the
provisions of Standing Order No. 134.

[Adjourned till Tuesday 16 November at 9:45am]




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 77 of 79

                                           Liberty Steel and the Future of the UK Steel Industry   75




Witnesses
The following witnesses gave evidence. Transcripts can be viewed on the inquiry publications
page of the Committee’s website.


Tuesday 25 May 2021

Rt Hon Kwasi Kwarteng MP, Secretary of State, Department for Business,
Energy and Industrial Strategy                                                                Q1–32

Edwin Basson, Director General, World Steel Association; Roz Bulleid, Head
of Policy, Green Alliance; Chris McDonald, Chief Executive Officer, Materials
Processing Institute; Roy Rickhuss, General Secretary, Community Trade Union;
Gareth Stace, Director General, UK Steel                                                    Q33–60


Tuesday 22 June 2021

Henrik Adam, Chief Executive Officer, Tata Steel Europe                                     Q61–96

Jon Bolton, Board Member, GFG Global Advisory Board; Anton Krull, Chief
Financial Officer, Liberty Steel UK                                                        Q97–213


Tuesday 29 June 2021

Stephen Rose, Chief Executive Officer, Wyelands Bank                                     Q214–269

Milan Patel, Partner, King & King Chartered Accountants                                  Q270–386

Patrick Magee, Chief Commercial Officer, British Business Bank                           Q387–439


Tuesday 06 July 2021

Cynthia O’Murchu, Investigative Reporter, Financial Times; Dr Javed Siddiqui,
Professor of Accounting, Alliance Manchester Business School, The University
of Manchester; S. Alex Yang, Associate Professor of Management Science and
Operations, London Business School                                           Q440–512


Tuesday 20 July 2021

Rt Hon Kwasi Kwarteng MP, Secretary of State, Department for Business,
Energy and Industrial Strategy                                                           Q513–581




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 78 of 79

76   Liberty Steel and the Future of the UK Steel Industry




Published written evidence
The following written evidence was received and can be viewed on the inquiry publications
page of the Committee’s website.

INQLS numbers are generated by the evidence processing system and so may not be
complete.
1    Anonymous (LS0001)
2    Anonymous (LS00010)
3    British Steel (LS0007)
4    Department for Business, Energy and Industrial Strategy (LS0004)
5    GFG Alliance (LS0008)
6    Green Alliance; Hanbury Strategy; and European Climate Foundation (LS0003)
7    IPPR North (LS0005)
8    Materials Processing Institute (LS0009)
9    Metals Consulting International Limited (LS0002)
10   UK Steel (LS0006)




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Case 1:23-mi-00106-TWT-CMS Document 5-15 Filed 10/26/23 Page 79 of 79

                                       Liberty Steel and the Future of the UK Steel Industry   77




List of Reports from the Committee
during the current Parliament
All publications from the Committee are available on the publications page of the
Committee’s website.


Session 2021–22

Number     Title                                                                  Reference
1st        Post-pandemic economic growth: Industrial policy in the UK             HC 385
2nd        Climate Assembly UK: where are we now?                                 HC 546
3rd        Post-pandemic economic growth: Levelling up                            HC 566



Session 2019–21

Number     Title                                                                  Reference
1st        My BEIS inquiry: proposals from the public                             HC 612
2nd        The impact of Coronavirus on businesses and workers:                   HC 1264
           interim pre-Budget report
3rd        Net Zero and UN Climate Summits: Scrutiny of Preparations              HC 1265
           for COP26 – interim report
4th        Pre-appointment hearing with the Government’s preferred                HC 1271
           candidate for the Chair of the Regulatory Policy Committee
5th        Uyghur forced labour in Xinjiang and UK value chains                   HC 1272
6th        Mineworkers’ Pension Scheme                                            HC 1346




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